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                                                                   1   Jeffrey W. Dulberg (CA State Bar No. 181200)
                                                                       John Lucas (CA State Bar No. 271038)
                                                                   2   Jeffrey P. Nolan (CA State Bar No. 158923)
                                                                       Pachulski Stang Ziehl & Jones LLP
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                                                                   5   E-mail: jdulberg@pszjlaw.com
                                                                                 jlucas@pszjlaw.com
                                                                   6             jnolan@pszjlaw.com

                                                                   7   [Proposed] Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   8

                                                                   9                                 UNITED STATES BANKRUPTCY COURT

                                                                  10                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  11                                        LOS ANGELES DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                             Case No.: 2:23-bk-10990-SK
                                        LOS ANGELES, CALIFORNIA




                                                                  13   LESLIE KLEIN,                                      Chapter 11
                                           ATTORNEYS AT LAW




                                                                  14                                   Debtor.            NOTICE OF HEARING ON MOTION OF
                                                                                                                          CHAPTER 11 TRUSTEE, FOR ORDER
                                                                  15                                                      ENFORCING THE AUTOMATIC STAY
                                                                                                                          AGAINST THE MENLO TRUST AND
                                                                  16                                                      RELATED RELIEF
                                                                  17                                                      [Relates to Docket Nos. 303, 304, and 306]
                                                                  18                                                       Date:       September 6, 2023
                                                                                                                           Time:       9:00 a.m.
                                                                  19                                                                   Courtroom 1575
                                                                                                                                       255 East Temple Street
                                                                  20                                                                   Los Angeles, CA 90012
                                                                  21                                                       Judge:      Hon. Sandra R. Klein
                                                                  22

                                                                  23   TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE,

                                                                  24   PARTIES ENTITLED TO NOTICE HEREOF, AND THE OFFICE OF THE UNITED
                                                                  25   STATES TRUSTEE:
                                                                  26
                                                                                PLEASE TAKE NOTICE that, pursuant to an Order Granting Application and Setting
                                                                  27
                                                                       Hearing on Shortened Notice (the “Order”) [Docket No. 306], a copy of which is attached hereto as
                                                                  28


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                                                                   1   Exhibit A, a hearing will be held on September 6, 2023 at 9:00 a.m. before the Honorable Sandra
                                                                   2   R. Klein at the United States Bankruptcy Court, located at 255 East Temple Street, Los Angeles,
                                                                   3
                                                                       California 90012, to consider the Motion of Chapter 11 Trustee, For Order Enforcing the Automatic
                                                                   4
                                                                       Stay Against the Menlo Trust and Related Relief (the “Motion”) [Docket No. 303]. The Motion, a
                                                                   5
                                                                       copy of which is attached hereto as Exhibit B, seeks an order enforcing the automatic stay against
                                                                   6

                                                                   7   the Franklin Henry Menlo Irrevocable Trust Established March 1, 1983.

                                                                   8           PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, oppositions to the

                                                                   9   Motion must be filed with the Court and served on all parties entitled to notice no later than August
                                                                  10   31, 2023 at 12:00 p.m. (Pacific Time). Replies to oppositions to the Motion must be filed with the
                                                                  11
                                                                       Court and served on all parties entitled to notice no later than September 1, 2023 at 4:00 p.m.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       (Pacific Time).
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14   Dated: August 29, 2023                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                  15
                                                                                                                    By: /s/ Jeffrey P. Nolan
                                                                  16                                                    Jeffrey W. Dulberg
                                                                                                                        John W. Lucas
                                                                  17                                                    Jeffrey P. Nolan
                                                                  18                                                     Proposed Attorneys for
                                                                                                                         Bradley D. Sharp, Chapter 11 Trustee
                                                                  19

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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Jeffrey W. Dulberg (CA State Bar No. 181200)
 John Lucas (CA State Bar No. 271038)                                                                    FILED & ENTERED
 Jeffrey P. Nolan (CA State Bar No. 158923)
 Pachulski Stang Ziehl & Jones LLP
 10100 Santa Monica Blvd., 13th Floor
                                                                                                                 AUG 29 2023
 Los Angeles, CA 90067
 Telephone: 310/277-6910                                                                                   CLERK U.S. BANKRUPTCY COURT
 Facsimile: 310/201-0760                                                                                   Central District of California
                                                                                                           BY may        DEPUTY CLERK
 E-mail: jdulberg@pszjlaw.com
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         jnolan@pszjlaw.com




    Individual appearing without attorney
    Attorney for: [Proposed] Counsel to Bradley D.
 Sharp, Chapter 11 Trustee

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                        CASE NO.: 2:23-bk-10990-SK

                                                                             CHAPTER: 11
 LESLIE KLEIN,                                                               ORDER:
                                                                                    GRANTING APPLICATION AND SETTING
                                                                                    HEARING ON SHORTENED NOTICE
                                                                                    DENYING APPLICATION FOR ORDER
                                                                                    SETTING HEARING ON SHORTENED
                                                                                    NOTICE
                                                                 Debtor.                     [LBR 9075-1(b)]

 Movant (name): Bradley D. Sharp, Chapter 11 Trustee of the estate of Leslie Klein, Debtor



1. Movant filed the following motion together with supporting declaration and (if any) supporting documents:

    a. Title of motion: Motion of Chapter 11 Trustee, for Order Enforcing the Automatic Stay Against the Menlo Trust and
       Related Relief [Docket No. 303]

    b. Date of filing of motion: August 28, 2023

          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration:

    Date of filing of Application: August 28, 2023 [Docket No. 304]

3. Based upon the court’s review of the application, it is ordered that:

    a.         The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.         The Application is granted, and it is further ordered that:


         (1)         A hearing on the motion will take place as follows:


                 Hearing date: 9/6/2023                       Place:
                 Time: 9:00 a.m.                                  255 East Temple Street, Los Angeles, CA 90012
                                                                  21041 Burbank Boulevard, Woodland Hills, CA 91367
                 Courtroom: 1575
                                                                  3420 Twelfth Street, Riverside, CA 92501
                                                                  411 West Fourth Street, Santa Ana, CA 92701
                                                                  1415 State Street, Santa Barbara, CA 93101

         (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                     persons/entities listed:

                 (A) Deadlines:                          (B) Persons/entities to be provided with telephonic notice:
                 Date:

                 Time:



                                                                  See attached page
                                                         (C) Telephonic notice is also required upon the United States trustee


         (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                     served upon all persons/entities listed using:       one of the methods checked         all of the
                     methods checked

               (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*              Email*

                 (B) Deadlines:                           (C) Persons/entities to be served with written notice and a copy of this
                                                                order:
                 Date: 8/29/23
                                                             --    All required parties.
                 Time: 5:00 p.m.


                                                                   See attached page
                                                          (D) Service is also required upon:
                                                              -- United States trustee (electronic service is not permitted)



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        (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                  must be served on all persons/entities listed using:        one of the methods checked       all of the
                  methods checked
              (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*      Email*

                    (B) Deadlines:                      (C) Persons/entities to be served with motion, declarations, supporting
                    Date: 8/29/23                           documents:
                                                         --     All required parties.
                    Time: 5:00 p.m.


                                                              See attached page
                                                        (D) Service is also required upon:
                                                            -- United States trustee (no electronic service permitted)




        (5)         Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing

                    no later than the deadlines given, written opposition to the motion must be filed with the court and
                    served upon all persons/entities listed using:     one of the methods checked           all of the methods
                    checked
              (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                          (C) Persons/entities to be served with written opposition to the motion:
                    Date: 8/31/23                        All required parties.

                    Time: 12:00 p.m.

                                                        (D) Service is also required upon:
                                                            -- United States trustee (electronic service is not permitted)




        (6)         Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.

                    no later than the deadlines given, a written reply to an opposition must be filed with the court and
                    served on all persons/entities listed using:        one of the methods checked           all of the methods
                    checked

              (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*




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                (B) Deadlines:                           (C) Persons/entities to be served with written reply to opposition:
                  Date: 9/1/23                               -- All required parties.

                  Time: 4:00 p.m.



                                                        (D) Service is also required upon:
                                                            -- United States trustee (electronic service is not permitted)




        (7)      Other requirements:

                 No further briefing will be allowed or considered.




        (8)      No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                 that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                 above:

                         at least 2 days before the hearing.

                         no later than:          Date:                              Time:



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: August 29, 2023




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                                                                   1   Jeffrey W. Dulberg (CA State Bar No. 181200)
                                                                       John Lucas (CA State Bar No. 271038)
                                                                   2   Jeffrey P. Nolan (CA State Bar No. 158923)
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                                                                   6             jnolan@pszjlaw.com

                                                                   7   [Proposed] Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   8                                 UNITED STATES BANKRUPTCY COURT

                                                                   9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                        LOS ANGELES DIVISION

                                                                  11    In re                                         Case No.: 2:23-bk-10990-SK
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    LESLIE KLEIN,                                 Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                          Debtor.                    MOTION OF CHAPTER 11 TRUSTEE, FOR
                                                                  14                                                 ORDER ENFORCING THE AUTOMATIC
                                                                                                                     STAY AGAINST THE MENLO TRUST AND
                                                                  15                                                 RELATED RELIEF; MEMORANDUM OF
                                                                                                                     POINTS AND AUTHORITIES; AND
                                                                  16                                                 DECLARATION OF JEFFREY P. NOLAN IN
                                                                                                                     SUPPORT THEREOF
                                                                  17
                                                                                                                     Hearing Date Requested: September 6, 2023
                                                                  18                                                 Hearing Time Requested: 9:00 a.m.

                                                                  19                                                 [Application For Order Setting Hearing On
                                                                                                                     Shortened Notice Filed Concurrently Herewith]
                                                                  20

                                                                  21

                                                                  22   TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE;
                                                                  23   THE OFFICE OF THE UNITED STATES TRUSTEE; AND PARTIES ENTITLED TO
                                                                  24   NOTICE HEREOF:
                                                                  25

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                                                                  18   Woodson v. Fireman's Fund Ins. Co. (In re Woodson)
                                                                          839 F.2d 610 (9th Cir. 1988) .......................................................................................................... 17
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                                                                  20   11 U.S.C. § 323 ................................................................................................................................... 14

                                                                  21   11 U.S.C. § 541 ................................................................................................................. 11, 12, 17, 18

                                                                  22   11 U.S.C. §362 ................................................................................................................................ 2, 10

                                                                  23   11 U.S.C. §523 ...................................................................................................................................... 5

                                                                  24   11 U.S.C. § 1106 ................................................................................................................................. 14

                                                                  25   11 U.S.C. § 1107 ................................................................................................................................. 18

                                                                  26   28 U.S.C. § 1334 ................................................................................................................................. 15

                                                                  27   28 U.S.C. § 157 ..................................................................................................................................... 4

                                                                  28   28 U.S.C. §1408 .................................................................................................................................... 4

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                                                                   1   28 U.S.C. §1409 .................................................................................................................................... 4

                                                                   2                                                         OTHER AUTHORITIES

                                                                   3   16 Moore's Federal Practice § 108.70[1], [**16], p. 108-106 (3d ed. 2004)...................................... 17

                                                                   4   H. R. Rep. No. 95-595, p. 367 (1977)................................................................................................. 12

                                                                   5   U.S. Const. art. I, § 8, cl. 4 .................................................................................................................. 16

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                                                                   1           PLEASE TAKE NOTICE THAT Bradley D. Sharp, the duly appointed chapter 11 trustee

                                                                   2   (the “Trustee”) of the bankruptcy estate (the “Estate”) of Leslie Klein (the “Debtor”), hereby files

                                                                   3   this Motion of Chapter 11 Trustee for Order Enforcing the Automatic Stay Against the Menlo Trust

                                                                   4   and Related Relief (the “Motion”) seeking an order enforcing the automatic stay against the Franklin

                                                                   5   Henry Menlo Irrevocable Trust Established March 1, 1983 (the “ Menlo Trust”) as represented by

                                                                   6   Jeffrey Winter and Frank Menlo, Co-Trustees of the Menlo Trust (the “Co-Trustees”) and awarding

                                                                   7   attorneys’ fees to the Trustee pursuant to section 362(k) of the Bankruptcy Code. In support of the

                                                                   8   Motion, the Debtors represent as follows.

                                                                   9

                                                                  10                                                I.
                                                                                                          PRELIMINARY STATEMENT
                                                                  11
                                                                                        The record before the Bankruptcy Court memorializes a debtor, who as an attorney
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                                                                  12
                                                                       and certified public accountant, misappropriated client trust funds of numerous trusts to the
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                                                                       detriment of the trusts’ beneficiaries. The Debtor utilized the Les Klein & Associates, Inc. (the
                                                                  14
                                                                       “Law Firm”) trust account to divert these trust funds. Via the Law Firm trust account, the Debtor
                                                                  15
                                                                       invested in various life insurance policies that would pay out death benefits on behalf of his clients,
                                                                  16
                                                                       himself, and others. Numerous adversary proceedings now pending before the Bankruptcy Court
                                                                  17
                                                                       seek exceptions to the Debtor’s discharge. The complaints document the Debtor utilizing the Law
                                                                  18
                                                                       Firm trust account to receive and divert trust funds into “one big pot” of commingled funds among
                                                                  19
                                                                       the Debtor’s numerous clients. Similarly, issues are implicated with the Debtor failing to segregate
                                                                  20
                                                                       his personal funds or funds of the Law Firm. Given the findings and allegations, the Trustee is
                                                                  21
                                                                       concerned that commingled funds were utilized to pay the premiums of insurance policies held in the
                                                                  22
                                                                       name of the Menlo Trust.
                                                                  23
                                                                                        In the Ninth Circuit, it is clear that commingled funds, where funds have lost their
                                                                  24
                                                                       separateness, controlled by a debtor are presumptively property of such debtor’s estate as they
                                                                  25
                                                                       involve “an interest of the debtor in property.” Such funds are property of the estate to be used to
                                                                  26
                                                                       satisfy allowed claims against the debtor’s estate. This presumption should prevail unless it can be
                                                                  27
                                                                       disproven by the party seeking to establish the separate nature of the funds in the commingled
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                                                                   1   account. Without reversal of the presumption, commingled funds are and remain property of the

                                                                   2   estate.

                                                                   3                    The Menlo Trust is one victim among a myriad of victims. Rather than respect the

                                                                   4   automatic stay in place as a matter of law, the Menlo Trust has imposed its will in a Superior Court

                                                                   5   proceeding to push itself ahead of other estate creditors in the exact manner the Bankruptcy Court

                                                                   6   repudiated when considering whether to dismiss this chapter 11 case. In the Superior Court

                                                                   7   proceeding, the Menlo Trust trustees have urged the judge to issue an order distributing six million

                                                                   8   dollars of life insurance policy proceeds acquired pre-petition (using commingled funds) which the

                                                                   9   Menlo Trust beneficiaries claim as their separate property that legally are presumptively property of

                                                                  10   the Debtor’s estate. In exercising his statutory duties, the Trustee requested documents from the

                                                                  11   trustees of the Menlo Trust to document the separate nature of the life insurance policies. While
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                                                                  12   professing to cooperate with the Trustee, the Menlo Trust has produced no policy-related documents
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                                                                  13   to the Trustee. In the interim, the Menlo Trust convinced the Superior Court to issue an order on
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                                                                  14   August 18, 2023 (the “Aug. 18 Minute Order”) to distribute, on August 30, 2023, $6,000,000 of the

                                                                  15   $30,000,000 in life insurance proceeds to the Menlo Trust, and similarly issued an OSC to the

                                                                  16   Debtor and the Trustee to provide writings to demonstrate the Debtor’s interest in the life insurance

                                                                  17   policies. Ironically, the Aug. 18 Minute Order requests the Trustee to produce what the Menlo Trust

                                                                  18   refused, and refuses to this day, to produce to the Trustee. The Aug. 18 Minute Order was

                                                                  19   accomplished over the Trustee’s adamant objection.

                                                                  20                    The Aug. 18 Minute Order is a clear violation of the automatic stay and void ab

                                                                  21   initio. Equitable orders of any court cannot replace congressional intent to create one uniform

                                                                  22   statutory framework for creditor rights implicated by a bankruptcy filing, i.e. the Bankruptcy Code.

                                                                  23   The Aug. 18 Minute Order offends notions of equity and fairness in that the Menlo Trust’s lack of

                                                                  24   cooperation with the Bankruptcy Court-appointed Trustee has created the untenable situation where

                                                                  25   one creditor is racing to the court house to disenfranchise other creditors outside the presence of the

                                                                  26   Bankruptcy Court. The Trustee, however, is duty-bound to protect all creditors’ interests

                                                                  27   collectively, but the recent actions of the Menlo Trust have caused the Trustee to expend precious

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                                                                   1   resources to file the Motion, appear in Superior Court on multiple occasions and delay investigations

                                                                   2   surrounding events prior to the commencement of this chapter 11 case.

                                                                   3                                               II
                                                                                                         PROCEDURAL BACKGROUND
                                                                   4
                                                                                 Filing of the Bankruptcy Case
                                                                   5
                                                                                        On February 22, 2023, the Debtor filed a voluntary petition for relief under
                                                                   6
                                                                       subchapter V of Chapter 11 of the Bankruptcy Code.
                                                                   7
                                                                                        On April 24, 2023, creditors Erica and Joseph Vago filed a Motion for Order
                                                                   8
                                                                       Dismissing Debtor’s Chapter 11 Bankruptcy Case (the “Motion to Dismiss”) [Docket No. 79].
                                                                   9
                                                                                        On May 17, 2023, at a hearing held on the Motion to Dismiss, the Court ruled that the
                                                                  10
                                                                       appointment of a chapter 11 trustee, and not dismissal of the case, was in the best interests of the
                                                                  11
                                                                       estate.
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                                                                  12
                                                                                        On May 23, 2023, the UST filed a Notice of Appointment of Chapter 11 Trustee
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                                                                       [Docket No. 151].
                                                                  14
                                                                                        On May 24, 2023, the UST filed an Application for Order Approving Appointment of
                                                                  15
                                                                       Trustee and Fixing Bond [Docket No. 154], approved by order entered the same day [Docket No.
                                                                  16
                                                                       155]. On that same day, the Trustee accepted his appointment [Docket No. 156].
                                                                  17
                                                                                        This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant
                                                                  18
                                                                       to 28 U.S.C. §§ 1408 and 1409.
                                                                  19
                                                                                                                     III.
                                                                  20                                        FACTUAL BACKGROUND
                                                                  21             Allegations In The Bankruptcy Court
                                                                  22                    On May 11, 2013, Adi Vendriger, Co-Trustee and beneficiary of the First

                                                                  23   Amendment Trust, filed its “Complaint to Determine the Nondischargeability of Debts, and to Deny

                                                                  24   Discharge.”1 The Vendriger claims are based upon a state court complaint filed August 27, 2021,

                                                                  25   against the Debtor and the Law Firm asserting various tort causes of action, including fraud,

                                                                  26   conversion of property, and money had and received. The complaint alleges multiple improper acts

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                                                                           See Adv. Case 23-ap-01151-SK; Dkt. No. 1.
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                                                                   1   by the Debtor including comingling and misappropriation of trust funds. (See State Court Complaint

                                                                   2   for (1) Fraud; (2) Breach of Fiduciary Duty; (3) Conversion; (4) Money Had And Received; (5)

                                                                   3   Unjust Enrichment and (6) Accounting (the “Vendriger Complaint”, ¶¶22, 24, 30), attached to the

                                                                   4   Declaration of J. Nolan (“Decl. of J. Nolan”) as Exhibit A.) The Vendriger Complaint alleges the

                                                                   5   Debtor utilized the Law Firm’s trust accounts as his “own private bank account.” (Vendriger

                                                                   6   Complaint, ¶30). On April 10, 2023, a Notice of Stay of Proceedings was filed.

                                                                   7                    On May 11, 2013, the Co-Trustees of the Franklin Henry Menlo Irrevocable Trust

                                                                   8   Established March 1, 1983 (the “Menlo Trust”) filed a “Complaint for Nondischargeability of Debts,

                                                                   9   and To Denial of Discharge.2 The Complaint attached the August 29, 2022, “Report and

                                                                  10   Recommendation of the Court-Appointed Referee on Examination and Adjudication of the Trustee’s

                                                                  11   First, Second, and Third Accountings On Each of the Twenty-Four Trusts At Issue For the Trust
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                                                                  12   Periods September 10, 1996-June 30, 2013, July 1, 2013-December 31, 2016 and January 1, 2017-
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                                                                  13   September 30, 2018” (the “Referee’s Report”, attached to the Decl. of J. Nolan as Exhibit B). The
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                                                                  14   Referee’s Report outlines a multitude of improper acts taken by the Debtor including the transfer,

                                                                  15   misappropriation and commingling of trust funds. (See Exhibit B, p. 21). The Law Firm trust

                                                                  16   account was noted to be “one big pot” with commingled funds of all of the Debtor’s clients. (See

                                                                  17   Exhibit B, p. 18, fn. 21). The Superior Court did not stay these proceedings. Rather, the Superior

                                                                  18   Court has been holding multiple hearings each month involving the Debtor including over the issue

                                                                  19   of deep concern to the Trustee – the disbursal post-petition of approximately $6 million in life

                                                                  20   insurance policy proceeds currently in the custody of an insurance carrier.

                                                                  21                    On May 10, 2013, Erica and Joseph Vago filed a “Complaint to Determine the

                                                                  22   Nondischargeability of Certain Debts owed by Debtor Leslie Klein to Erica and Joseph Vago

                                                                  23   Pursuant to 11 U.S.C. §523, and To Deny Discharge Pursuant to Section 727(A)(12).”3 The Vago

                                                                  24   Complaint alleges that the Vagos transferred $15 million to the care of the Debtor between 2013 and

                                                                  25   2017. (See Complaint for Nondischargeability (the “Vago Complaint”) attached to the Decl. of J.

                                                                  26   Nolan as Exhibit C, ¶¶17, 26). The Debtor sold the Vagos on a business scheme wherein the Vagos

                                                                  27   2
                                                                           See Case 23-ap-01152-SK; Dkt. No. 1
                                                                  28   3
                                                                           See Case 23-ap-01150-SK; Dkt. No. 1]
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                                                                   1   would wire monies to the Debtor, presumably into the Law Firm client trust accounts, to be invested

                                                                   2   in life insurance policies. (Vago Complaint, ¶23). The Vagos were also told to wire monies for

                                                                   3   charitable purposes to a Debtor owned and controlled entity named EKLK Foundation (“EKLK”).4

                                                                   4   The Debtor admitted he “invested his own money in the life insurance policies.” (Vago Complaint,

                                                                   5   ¶23-25). The Debtor indicated he would invest the monies into life insurance policies as they were

                                                                   6   sound, in fact, he invested his own monies in the life insurance policies. (Vago Complaint, ¶ 25, 30).

                                                                   7   The Vago Complaint asserts that life insurance policies utilizing funds included multiple other

                                                                   8   investors the identities and amounts which were concealed. (See Exhibit C, ¶¶30). The Vago

                                                                   9   Complaint alleges that the Debtor commingled trust funds with his personal funds and breached his

                                                                  10   fiduciary duties when he admitted he used his own personal monies to invest in the trust life

                                                                  11   insurance policies. (See Exhibit C, ¶46). The Vago Complaint attaches a judgment in the amount of
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                                                                  12   $24,334,038 against the Debtor. The Vago parties obtained an abstract of judgment and liens against
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                                                                  13   the Debtor but stayed all collection proceedings.
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                                                                  14                    On May 12, 2023, Robert and Esther Mermelstein filed a Complaint for

                                                                  15   Nondischargeability of Debt Pursuant to 11 USC §523(a)(2)(A), 11 USC §523(a)(4) & 11 USC

                                                                  16   §523(a)(6) & for Denial Of Discharge Pursuant to 11 USC §727(a)(2)(A); 11 USC §727(a)(2)(B);

                                                                  17   11 USC §727(a)(3); 11 USC §727(a)(4); 11 USC §727(a)(5)5 (the “Mermelstein Complaint”),

                                                                  18   attached to the Decl. of J. Nolan as Exhibit D. From 2009-2021, the Debtor solicited the

                                                                  19   Mermelsteins to invest in seven (7) life insurance death policies, or investment opportunities. (See

                                                                  20   Mermelstein Complaint ¶10). These policies are alleged to have resulted in significant recoveries to

                                                                  21   the Debtor which sums were converted by the Debtor and concealed from the Mermelstein

                                                                  22   beneficiaries. (See Mermelstein Complaint, ¶¶14, 20, 31). Ultimately, the Debtor commingled the

                                                                  23   funds through the Law Firm trust account and diverted the monies. (See Mermelstein Complaint,

                                                                  24   ¶60). The Mermelstein plaintiffs have filed proofs of claims in the Bankruptcy Case exceeding $1

                                                                  25   million. (See Mermelstein Complaint, ¶41). The Trustee is not aware of the underlying state court

                                                                  26   proceedings, if any, and if they have been stayed.

                                                                  27   4
                                                                           The Trustee believes EKLK is an acronym for Ellen Klein & Leslie Klein.
                                                                  28   5
                                                                           See Case 23-ap-01153-SK; Dkt. No.1
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                                                                   1                    On May 12, 2013, Jeffrey Siegel, Successor Trustee to the Scott Trust, (the “Scott

                                                                   2   Trust”) filed a “Complaint For Nondischargeability of Debts, and Denial of Discharge.”6 The

                                                                   3   Debtor was the trustee of the Scott Trust and is alleged to have misappropriated trust funds, created

                                                                   4   non-recourse note and fake investments, and commingled trust funds which damaged the Scott Trust

                                                                   5   in an amount not less than $2.67 million. (See the “Scott Complaint”; ¶¶34-37, 87, 113, attached to

                                                                   6   the Decl. of J. Nolan as Exhibit E).

                                                                   7            Administrative Proceedings
                                                                   8                    On May 13, 2020, the California Board of Accountancy, Department of Consumer

                                                                   9   Affairs, State of California, issued its Decision and Order in which the Debtor surrendered his

                                                                  10   license. (See Decision and Order, Stipulated Surrender of License and Order and Accusation (the

                                                                  11   “Accusation”) attached to the Decl. of J. Nolan as Exhibit F). The Accusation documents the
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                                                                  12   Debtor issuing promissory notes in the name of the Debtor, to entities in which he owned a
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                                                                  13   substantial interest or controlled, as well as mischaracterizing investments to clients which in reality
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                                                                  14   were merely non-recourse loans utilizing the Law Firm and Law Firm trust account. The Debtor

                                                                  15   caused to be issued promissory notes and utilized the funds as he alone directed. (See Accusation,

                                                                  16   Exhibit F, ¶¶ 19(iv), 22(d)).

                                                                  17            Post-Petition Events In Menlo Superior Court Proceedings
                                                                  18                    On June 5, 2023, the Trustee appeared for the first time in the Superior Court, State of

                                                                  19   California, County of Los Angeles, Dept. 3 (“Superior Court”) before the Honorable Ana Maria

                                                                  20   Luna, Judge of the Superior Court. Counsel for the Trustee believed the hearing to be an OSC re:

                                                                  21   Contempt of Civil Court against the Debtor for failure to follow a Superior Court order. Instead, it

                                                                  22   turned into a hearing related to demands by certain members of the Menlo Trust to unfreeze life

                                                                  23   insurance policy proceeds that were held in the custody of various insurance companies. The

                                                                  24   Superior Court instructed that such funds could be disbursed by the various insurance companies to

                                                                  25   the Co-Trustees but were to be held and not distributed to any beneficiaries until further order of the

                                                                  26   Superior Court. (See Interim Order dated June 5, 2023, attached to the Decl. of J Nolan as Exhibit

                                                                  27   G). The Superior Court ordered the Menlo Trustees and the Debtor to turn over all documents

                                                                  28   6
                                                                           See Case 23-ap-01154-SK; Dkt. No. 1.
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                                                                   1   requested by the Trustee “within 72 hours of being requested to do so.” (See Interim Order dated

                                                                   2   June 5, 2023 (the “June 5th Interim Order”) attached to the Decl. of J. Nolan as Exhibit G, p. 2, ¶4).

                                                                   3                    On July 7, 2023, the Trustee issued his “Response to the Declaration of the Debtor,

                                                                   4   Leslie Klein, re: Claims Against Unfrozen Funds Held by Trustee of 24 Trusts.” (See Response,

                                                                   5   attached to the Decl. of J. Nolan as Exhibit H). The Response emphasized to the parties and to the

                                                                   6   Superior Court the Trustee’s position that the automatic stay was in effect, divesting the Debtor of

                                                                   7   any control over property of the Estate, outlining the multiple occasions on which the Trustee

                                                                   8   requested documents concerning the life insurance policies, the fact no such documents had been

                                                                   9   provided to the Trustee, and reiterating that the life insurance policies were potentially property of

                                                                  10   the estate.

                                                                  11                    On August 4, 2023, the Trustee scheduled a conference call with counsel for the
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                                                                  12   Menlo Trust to facilitate the exchange of information and documents surrounding the life insurance
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                                                                  13   policies. The Trustee renewed his request for documents from the Menlo Trust. Notwithstanding
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                                                                  14   this good faith effort on the Trustee’s part, the Trustees of the Menlo Trust subsequently

                                                                  15   provided no documents to the Trustee. (See Decl. of J. Nolan, ¶11)

                                                                  16                    On August 7, 2023, counsel for the Trustee forwarded to counsel for the Menlo Trust

                                                                  17   a stipulation to facilitate the exchange of information surrounding the life insurance policy proceeds

                                                                  18   and to expedite matters before the Bankruptcy Court. (See email and Correspondence, attached to the

                                                                  19   Decl. of J. Nolan as Exhibit I). Once more, no responsive documents were provided to the Trustee.

                                                                  20   (See Decl. of J Nolan, ¶12).

                                                                  21                    On August 11, 2023, the Menlo Trustees filed their Motion for Relief from Stay. (See

                                                                  22   Dkt. No. 249).

                                                                  23                    On August 14, 2023, counsel for the Trustee again reached out to the Menlo Trust

                                                                  24   and requested documents concerning the life insurance policies and how they were paid. (See

                                                                  25   Correspondence, attached to the Decl. of J. Nolan as Exhibit J). A pattern was now

                                                                  26   developing….once again, no documents were provided to the Trustee. (See Decl. of J Nolan, ¶13).

                                                                  27                    On August 18, 2023, before the Superior Court, Dept. 3, the Menlo Trust appeared

                                                                  28   and argued for the Superior Court to authorize the disbursement of the Life Insurance Policy

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                                                                   1   Proceeds (a) despite the fact they had not produced the life insurance policies and related

                                                                   2   documents to the Trustee and (b) despite the fact the Menlo Trust had pending Motions for Relief

                                                                   3   From Stay addressing the issue to the Bankruptcy Court. (See Dkt. Nos. 84, 249 and Decl. of J.

                                                                   4   Nolan, ¶11-13). The Superior Court, over the objection of the Trustee, issued the Aug. 18 Minute

                                                                   5   Order wherein the Superior Court: (1) issued an OSC re: production of any writing that

                                                                   6   substantiates a claim to the insurance policy proceeds by former Trustee, Leslie Klein, and (2)

                                                                   7   authorized the sum of $6 million to be distributed by the insurance carrier American General to the

                                                                   8   Menlo Trust. (See Minute Order dated August 18, 2013, attached to Decl. of J. Nolan as Exhibit K).

                                                                   9                    As of the date of the filing of this Motion, the Menlo Trust has provided no

                                                                  10   documents to the Trustee with respect to the life insurance policies. (See Decl. of J Nolan, ¶17)

                                                                  11                    The Trustee has not sought to hold the Menlo Trust in contempt of court for violating
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                                                                  12   the June 5, 2023, Minute Order. Appreciating the tribulations experienced by the Menlo Trust and
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                                                                  13   believing the Menlo Trust was compiling responsive documents, the Trustee sought to resolve the
                                           ATTORNEYS AT LAW




                                                                  14   issue informally.

                                                                  15           Life Insurance Policy Proceeds
                                                                  16                    As of June 5, 2023, the Life Insurance Policy Proceeds resided with the various

                                                                  17   insurance companies. (See June 5th Minute Order, See Exhibit G). The Trustee believes the Life

                                                                  18   Insurance Policy Proceeds are still maintained in the custody of the life insurance companies.

                                                                  19   However, the Proceeds may be with the Menlo Trust subject to order of the Superior Court.

                                                                  20                                                    IV
                                                                                                                     ARGUMENT
                                                                  21
                                                                               The Automatic Stay Provides Fair And Equal Protection To Creditors’ Interests In
                                                                  22           Order To Realize The Goals Of The Bankruptcy Code
                                                                  23                    In short, the automatic stay provides fair and equal protection to creditors’ interests in

                                                                  24   order to realize the goals of the Bankruptcy Code. (See Elbar Invs., Inc. v. Pierce (In re Pierce), 272

                                                                  25   B.R. 198, 204 (Bankr. S.D. Tex. 2001)) (“The stay is intended to benefit both debtors and creditors

                                                                  26   by assuring an equitable distribution of the debtor’s assets and by preventing a race to the

                                                                  27   courthouse”); Hunt v. Bankers Trust Co., 799 F.2d 1060, 1069 (5th Cir. 1986) (preventing a “chaotic

                                                                  28   and uncontrolled scramble for the debtor’s assets in a variety of uncoordinated proceedings in

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                                                                   1   different courts”); Homer Nat’l Bank v. Namie, 96 B.R. 652, 655 (W.D. La. 1989) (“The purpose of

                                                                   2   the automatic stay is to protect creditors in a manner consistent with the bankruptcy goal of equal

                                                                   3   treatment”).

                                                                   4                    The Aug 18 Minute Order reflects the erroneous argument promoted by the Menlo

                                                                   5   Trust that the Debtor, Leslie Klein, determines what is, and is not, “property of the estate.” Under

                                                                   6   this specious approach, the transgressions of the Debtor are “held against” the Trustee and all

                                                                   7   creditors. On the contrary, the Trustee is duty bound not to “side” with the Debtor, or one creditor

                                                                   8   versus another, and the Trustee is not opposed to the Menlo Trust’s ultimately demonstrating its

                                                                   9   separate property rights. However, the Bankruptcy Code forbids the Menlo Trust from adjudicating

                                                                  10   claims of other victims/creditors against the Debtor’s estate in a forum outside of their – and the

                                                                  11   Trustee’s – presence. It is obvious that permitting the Menlo Trust to do so will undermine the
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                                                                  12   purposes of the Bankruptcy Code.
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                                                                  13                    The automatic stay provided by section 362 is intended to serve two separate
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                                                                  14   interests. One interest served is that of the debtor, by providing him or her with a “breathing spell.”

                                                                  15   “However, a less obvious but no less important interests protected by §362 are those of creditors,

                                                                  16   who are ‘clearly intended to benefit from §362.’” United States v. Miller, 2003 U.S. Dist. LEXIS

                                                                  17   24884,*22 (N.D. Tex. Dec 22, 2003), citing to In re Pointer, 952 F.2d 82, 86 (5th Cir. 1992) (“The

                                                                  18   stay is intended to benefit both debtors and creditors”); Glendenning v. Third Fed. Sav. Bank (In re

                                                                  19   Glendenning), 243 B.R. 629, 634 (Bankr. E.D. Pa. 2000) (noting that protection of creditors’

                                                                  20   interests is confirmed by fact that automatic stay arises even in the face of debtor’s dereliction in

                                                                  21   raising it). Congress intended to confer rights upon creditors as parties for whose benefit the

                                                                  22   automatic stay was promulgated. (See In re Brooks, 871 F.2d 89, 90 (9th Cir. 1989), aff’d Brooks,

                                                                  23   79 B.R. 479 (9th Cir. B.A.P. 1987)). Creditors “are clearly parties in interest under the meaning of

                                                                  24   the Bankruptcy Code [where] they have a pecuniary interest that was adversely affected” by a post-

                                                                  25   petition transfer of property. In re Reserves Dev. Corp., 78 B.R. 951, 957 (W.D. Mo. 1986), rev’d

                                                                  26   on other grounds, 821 F.2d 520 (8th Cir. 1987). The legislative history of section 362 clearly

                                                                  27   recognizes that creditors are beneficiaries when it states:

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                                                                   1                    The automatic stay also provides creditor protection. Without it, certain
                                                                                        creditors would be able to pursue their own remedies against debtor’s
                                                                   2                    property. Those who acted first would obtain payment of their claim in
                                                                                        preference to and to the detriment of other creditors. Bankruptcy is
                                                                   3                    designed to provide an orderly liquidation procedure under which all
                                                                                        creditors are treated equally.”
                                                                   4

                                                                   5                    The Aug. 18 Minute Order undeniably seeks to effectuate a post-petition transfer of

                                                                   6   pre-petition property. Granting of the instant Motion protects the rights of all creditors, including

                                                                   7   the Menlo Trust, as to the Life Insurance Policy Proceeds.

                                                                   8           Commingled Funds in The Law Firm Account, An Account Controlled By The Debtor,
                                                                               Triggers “Interests Of The Debtor” in The Law Firm Trust Account
                                                                   9

                                                                  10                    The Menlo Trust incorrectly framed the issue to the Superior Court by stating that

                                                                  11   “unless Klein can provide proof positive to the Court that any funds in issue belong to his estate, or
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                                                                  12   belong to third-parties who are not Menlo family members, this [Superior] Court must give no
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                                                                  13   weight at all to the Klein Declaration or the Trustee Response.” (See Decl. of D Saltzman, ¶11, lns.
                                           ATTORNEYS AT LAW




                                                                  14   1-3, attached to the Decl. of J. Nolan as Exhibit L, ¶15). The statement that a Debtor should come

                                                                  15   forward post-petition to define “an interest of the debtor in property” of the estate is simply a

                                                                  16   misstatement of basic principles of the Bankruptcy Code. The correct legal standard is as follows: Is

                                                                  17   there “an interest of the debtor” in the life insurance policies? As thoroughly outlined in the above

                                                                  18   “Factual Background,” abundant examples exist that the Debtor utilized the Law Firm trust fund

                                                                  19   bank account as “one big pot” of commingled funds of the Debtor’s clients and his own. (See ¶9

                                                                  20   herein).

                                                                  21                    Section 541(a)(1) provides that the commencement of a case creates an estate which

                                                                  22   “is comprised of all the following property, wherever located and by whomever held . . . [e]xcept

                                                                  23   as provided in subsections (b) and (c)(2) of this section, all legal or equitable interests of the debtor

                                                                  24   in property as of the commencement of the case.” § 541(a)(1) (emphasis added); United States v.

                                                                  25   Whiting Pools, 462 U.S. 198, 204-05, 103 S. Ct. 2309, 76 L. Ed. 2d 515 (1983); Gandara v.

                                                                  26   Bitterroot Rock Products (In re Gandara), 257 B.R. 549, 553 (Bankr. D. Mont. 2000); see also In re

                                                                  27   Beccari, 20 Mont. B.R. 282, 290-91 (Bankr. D. Mont. 2002) (emphasis added). In Brandon v.

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                                                                   1   Sherwood (In re Sann), 555 B.R. 721,735 (Bankr. Mont. 2016), the Bankruptcy Court noted that the

                                                                   2   Supreme Court has emphasized the broad scope of section 541(a):

                                                                   3                    [Section] 541(a) provides that the “estate is comprised of all of the
                                                                                        following property, wherever located: . . . all legal or equitable
                                                                   4                    interests of the debtor in property as of the commencement of the
                                                                                        case.” 11 U.S.C. § 541(a)(1).
                                                                   5
                                                                                        Given the plain language of section 541(a)(1), it is appropriate to note the basic canon
                                                                   6
                                                                       of statutory construction that when the language of a statute is plain, the sole function of a court is to
                                                                   7
                                                                       enforce it according to its terms, unless the disposition required by the text is absurd. Lamie v. U.S.
                                                                   8
                                                                       Trustee, 540 U.S. 526, 534, 124 S. Ct. 1023 (2004); Hartford Underwriters Ins. Co. v. Union
                                                                   9
                                                                       Planters Bank, N.A., 530 U.S. 1, 6, 120 S. Ct. 1942 (2000) (quoting United States v. Ron Pair
                                                                  10
                                                                       Enterprises, Inc., 489 U.S. 235, 241, 109 S. Ct. 1026 (1989) (in turn quoting Caminetti v. United
                                                                  11
                                                                       States, 242 U.S. 470, 485, 37 S. Ct. 192, (1917)). The plain language of section 541(a)(1) defines
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                                                                  12
                                                                       property of the estate to include property “wherever located and by whomever held.” Thus, the fact
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                                                                  13
                                           ATTORNEYS AT LAW




                                                                       that certain funds are held by the Debtor in his trust account, and not yet deposited into Debtor’s
                                                                  14
                                                                       bank account, does not exclude it from being property of the estate. Whiting Pools, 462 U.S. at 204.
                                                                  15
                                                                                        Whether the property is in the custody of the insurance companies, the Menlo Trust
                                                                  16
                                                                       or another party, makes no difference to this analysis. Property of the estate maintains its character
                                                                  17
                                                                       wherever that property is located. The House and Senate Reports on the Bankruptcy Code indicate
                                                                  18
                                                                       that section 541(a)(1)’s scope is broad. Most importantly, in the context of this case, section
                                                                  19
                                                                       541(a)(1) is intended to include in the estate any property made available to the estate by other
                                                                  20
                                                                       provisions of the Bankruptcy Code. See H. R. Rep. No. 95-595, p. 367 (1977). Several of these
                                                                  21
                                                                       provisions bring into the estate property in which the debtor did not have a possessory interest at the
                                                                  22
                                                                       time the bankruptcy proceedings commenced. “The phrase ‘all legal or equitable interests of the
                                                                  23
                                                                       debtor in property’ has been given the broadest possible interpretation and the term equitable interest
                                                                  24
                                                                       has generally not been interpreted as limited to a debtor’s equity in property.” See Brown v.
                                                                  25
                                                                       Dellinger (In re Brown), 734 F.2d 119, 123 (2d Cir. 1984); In re Bullion Reserve of N. Am., 836 F2d.
                                                                  26
                                                                       1214, 1217 (9th Cir. 1988) (The term “property of the debtor” is not defined in the Bankruptcy
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                                                                       Code. However, we define the term broadly. Elliot v. Frontier Properties (In re Lewis W. Shurtleff,
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                                                                   1   Inc.), 778 F.2d 1416, 1419 (9th Cir. 1985). Generally, property belongs to the debtor for purposes of

                                                                   2   §547 if its transfer will deprive the bankruptcy estate of something which could otherwise be used to

                                                                   3   satisfy the claims of creditors.) In the present case, commingled funds in the Law Firm trust account

                                                                   4   is property which could be used to satisfy other creditors if not able to be adequately traced.

                                                                   5                    The Trustee recognizes that as a trustee for numerous beneficiaries, including the

                                                                   6   Menlo Trust, the Debtor had no equitable interest in funds he held solely in trust. Indeed, that is the

                                                                   7   classic definition of a trust - the beneficiary has an equitable interest in the trust property while legal

                                                                   8   title is vested in a trustee. A trust is defined in Restatement (Second) of Trusts § 2 (1959) as: [A]

                                                                   9   fiduciary relationship with respect to property, subjecting the person by whom the title to the

                                                                  10   property is held to equitable duties to deal with the property for the benefit of another person, which

                                                                  11   arises as a result of a manifestation of an intention to create it. In re Penn Cent. Transp. Co., 486
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                                                                  12   F.2d 519, 524 (3d Cir. 1973), 1973 U.S. App. LEXIS 7600. Monies held in an express trust for
                                        LOS ANGELES, CALIFORNIA




                                                                  13   another is not property of the estate. Girardi v. Miller (In re Keese), No. CV 22-5176 DSF, 2023
                                           ATTORNEYS AT LAW




                                                                  14   U.S. Dist. LEXIS 75752, *16 (C.D. Cal. 2023). In order to determine whether a debtor holds

                                                                  15   property in trust for another, the court must look to applicable state law to see whether or not an

                                                                  16   enforceable trust exists”. Tawansy v. Leslie (In re Raymenond Renaissance Theater, LLC), 583 B. R.

                                                                  17   735, 744 (Bankr. C.D. Cal. 2018) However, “a party seeking to keep a trust res out of a bankruptcy

                                                                  18   estate will not succeed if the trust res has been comingled with non-trust assets of the debtor, unless

                                                                  19   he can trace his funds through the commingled account”. See Raymenond at 748 (finding that the

                                                                  20   disputed funds were not property of the bankruptcy estate because there was no commingling).

                                                                  21   Commingled funds in a bank account controlled by the Debtor are presumptively estate property.

                                                                  22   Girardi v. Miller (In re Keese), 2023 U.S. Dist. LEXIS 75752, *16, citing to Danning v. Bozek (In re

                                                                  23   Bullion Reserve of N. Am.), 836 F.2d 1214, 1217 (9th Cir. 1988) (“the money [the debtor] used to

                                                                  24   purchase bullion came from commingled bank accounts under [the debtor]’s control and this money

                                                                  25   could have been used to pay other creditors, it presumptively constitutes property of the debtor’s

                                                                  26   estate”). By all accounts, the life insurance policies appear to be purchased with monies from the

                                                                  27   commingled Law Firm trust account.

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                                                                   1                    In the three months since the Trustee’s appointment, the Trustee notes ample

                                                                   2   evidence of the Debtor diverting and commingling (a) the trust funds of various victims (Menlo,

                                                                   3   Vago, Mermelstein, Vendriger, and Scott claimants) in a single account, the Law Firm trust account,

                                                                   4   as well as (b) depositing his own personal funds in that account. As the Referee characterized it in

                                                                   5   the Menlo litigation, the Law Firm trust account was “one big pot” where the Debtor diverted the

                                                                   6   Menlo’s and Klein’s “other clients’” funds. (Referee’s Report, Exhibit B, p. 18, ftnt. 21). The

                                                                   7   Vendriger, Mermelstein and Vago Complaints each note evidence and findings of improper

                                                                   8   diversion and commingling of client funds in the Law Firm trust account. Similarly, the Trustee

                                                                   9   cannot ignore multiple sources of credible evidence that the Debtor mixed his personal funds into the

                                                                  10   Law Firm trust account: namely, his admission at trial in the Vago litigation that he breached his

                                                                  11   fiduciary duty by using his own monies to invest in insurance policies, the same policies he was
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                                                                  12   soliciting his clients to invest in. (Vago Complaint, Exhibit C, ¶46). The Debtor also obtained
                                        LOS ANGELES, CALIFORNIA




                                                                  13   credit lines for loans in the Debtor’s name and others as secured by brokerage accounts. (Referee’s
                                           ATTORNEYS AT LAW




                                                                  14   Report, Exhibit B, p. 18, ftnt. 21). The Debtor had sole control and is the custodian of the Law Firm

                                                                  15   trust accounts. (See Decl. of J. Nolan, ¶16). These events caused the Trustee to pause and request

                                                                  16   documents from both the Debtor and the Menlo Trust. However, neither party has produced the life

                                                                  17   insurance policies nor any other supporting documents to the Trustee. The Trustee has been forced

                                                                  18   to file a Motion for 2004 Examination of the Menlo Trust given the lack of responsiveness. (Dkt

                                                                  19   No. 301). A trustee has the statutory duty to protect and preserve property of the estate for the

                                                                  20   purpose of maximizing a distribution to creditors. 11 U.S.C. § 1106(a). Bankruptcy trustees are

                                                                  21   representatives of the bankruptcy estate. 11 U.S.C. § 323(a). As representatives of the estate, a

                                                                  22   bankruptcy trustee owes a fiduciary duty to creditors of a bankruptcy estate. In re Cochise College

                                                                  23   Park, Inc., 703 F.2d 1339, 1357 (9th Cir. 1983). Part of the bankruptcy trustee’s fiduciary duty is to

                                                                  24   conserve assets of the estate and maximize distributions to creditors. In re Rigden, 795 F.2d 727,

                                                                  25   730 (9th Cir. 1986). As such, a trustee has a duty to treat all creditors fairly and exercise the measure

                                                                  26   of care and diligence that an ordinary prudent person under similar circumstances would exercise.

                                                                  27   Pereira v. Foong (In re Ngan Gung Restaurant), 2000 Bankr. LEXIS 1342, *10, 11 (Bankr. SD NY,

                                                                  28   2000).

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                                                                   1           The Trustee’s Concern That Victims’ Monies Were Commingled in The Single Law
                                                                               Firm Trust Account And Used to Purchase the Menlo Life Insurance Policies
                                                                   2           Implicates Rights of All Creditors

                                                                   3                    Commingled monies used to purchase or pay premiums on life insurance policies are

                                                                   4   “an interest of the debtor” in property. A change in the form of an asset from cash to a life insurance

                                                                   5   policy does not undo the effect of commingling. The fact that commingled funds are transferred into

                                                                   6   life insurance policies does not change the result that “an interest of the Debtor” in property is

                                                                   7   implicated. Geltzer v. Soshkin (In re Brizinova), 588 B.R. 311, 326 (Bankr. E.D.N.Y, 2018) (the

                                                                   8   change in an asset’s form from one type, such as real estate or shares of a corporation, to another,

                                                                   9   such as cash, should not lead to a change in whether it is a part of a debtor’s bankruptcy estate). In

                                                                  10   re Arcapita Bank B.S.C.(c), 2014 Bankr. LEXIS 2237, 2014 WL 2109931, at *2 (and “[t]he broad

                                                                  11   definition of property of the estate clearly encompasses a debtor’s interest in another corporation’s
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                                                                  12   stock.”). If the life insurance policies were acquired with the commingled funds, the fact that the
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                                                                  13   funds were used or transferred into a policy of insurance does not change the fact the policies
                                           ATTORNEYS AT LAW




                                                                  14   represent “an interest of the Debtor” and part of the bankruptcy estate. The Trustee has been unable

                                                                  15   to make these important determinations given the failure of the Menlo Trust to produce relevant

                                                                  16   documents.

                                                                  17           What Is, Or Is Not, An Interest of the Debtor in Property Is an Issue Within the
                                                                               Bankruptcy Court’s Core Jurisdiction.
                                                                  18
                                                                                        The determination of whether assets are property of the estate is a core matter of
                                                                  19
                                                                       bankruptcy court jurisdiction. Bank of Los Angeles v. Official PACA Creditors’ Comm. (In re
                                                                  20
                                                                       Southland + Keystone), 132 B.R. 632, 638 (9th Cir. B.A.P. 1991) (“Clearly, a determination of
                                                                  21
                                                                       whether assets are property of the bankruptcy estate concerns administration of the estate.”); In re
                                                                  22
                                                                       Wash. Mutual, Inc., 461 B.R. 200, 217 (Bankr. D. Del. 2011); 28 U.S.C. § 1334(e) jurisdiction over
                                                                  23
                                                                       property of the estate “includes jurisdiction to decide whether disputed property is, in fact, property
                                                                  24
                                                                       of the estate”); All Am. Laundry Serv. v. Ascher (In re Ascher), 128 B.R. 639, 643 (Bankr. N.D. Ill.
                                                                  25
                                                                       1991) (“When a debtor and its creditors assert interests in property asserted to be part of the estate,
                                                                  26
                                                                       the bankruptcy court has core jurisdiction to adjudicate all of those interests.”) (emphasis
                                                                  27
                                                                       added); Chase Manhattan Bank v. Jacobs (In re Jacobs), 48 B.R. 570, 572 (Bankr. S.D. Cal. 1985)
                                                                  28
                                                                       (similar holding).
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                                                                   1                      The Superior Court is not the proper forum to determine what is, and is not, an

                                                                   2   “interest of a debtor in property.” Indeed, the Menlo Trust cited no case law to the Superior Court.

                                                                   3   To the contrary, the Menlo Trust demanded the Superior Court utilize equitable powers to fashion a

                                                                   4   remedy to assist them specifically. However, it should be clear the Menlo Trust is but one set of

                                                                   5   victims of the Debtor’s unscrupulous acts.7 Further, one court’s equitable powers – exercised even

                                                                   6   with the best of intentions – cannot override specific mandates of the Bankruptcy Code. Brandon v.

                                                                   7   Sherwood (In re Sann), 555 B.R. 721 (Bankr. Mont. 2016); Wolf v. Collins (In re Collins), 2017

                                                                   8   Bankr. LEXIS 2064 (Bankr S.D. Cal., 2017) (“Bankruptcy courts are courts of equity but must

                                                                   9   follow the law and cannot ignore express statutory commands.”). Similarly, the Superior Court

                                                                  10   cannot ignore the clear legal dictates of the Bankruptcy Code in sections 362 and 541 by deciding

                                                                  11   the issue.8 Federal law applies to this issue and the determination of what is “an interest of the
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                                                                  12   debtor in property” is best reserved for the uniform standards applied in the federal bankruptcy court
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                                                                  13   system not to the dictates of individual state courts. See Sherwood Partners, Inc. v. Lycos, Inc., 394
                                           ATTORNEYS AT LAW




                                                                  14   F.3d 1198, 1205 (9th Cir. 2005) (there can be no doubt that federal bankruptcy law is “pervasive”

                                                                  15   and involves a federal interest “so dominant” as to “preclude enforcement of state laws on the same

                                                                  16   subject”--much like many other areas of congressional power listed in Article I, Section 8, of the

                                                                  17   Constitution, such as patents, copyrights, currency, national defense and immigration. The

                                                                  18   Bankruptcy Clause, which grants Congress the power to make bankruptcy laws, U.S. Const. art. I, §

                                                                  19   8, cl. 4, stresses that such rules must be “uniform.”)

                                                                  20                      Failure to grant the Motion and enforce the automatic stay would create the potential

                                                                  21   for fragmented interpretations of the Bankruptcy Code and harm to creditors of this estate.

                                                                  22              The Menlo Trust Efforts to Adjudicate the Life Insurance Policy Proceeds In State
                                                                                  Court Without Notice To Creditors Of The Bankruptcy Estate, While Refusing to
                                                                  23              Cooperate With the Trustee, Will Create a Maelstrom Of Litigation
                                                                  24                      Absent the granting of this Motion, the Aug. 18 Minute Order will create a litany of

                                                                  25   lawsuits as the Superior Court ruling will disenfranchise other victims of the Debtor.

                                                                  26
                                                                       7
                                                                           The Trustee is cognizant of the wrongs committed by the Debtor against the Menlo Trust.
                                                                  27   8
                                                                         Johnston v. Parker (In re Johnston), 321 B.R. 262, 274 (D. Ariz. 2005) citing to Sommer & McGarity, supra, P
                                                                       5.05[1]; see also Gruntz v. County of Los Angeles (In re Gruntz), 202 F.3d 1074, 1082 (9th Cir. 2000) (“Actions taken in
                                                                  28   violation of the automatic stay are void.”).
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                                                                   1                    The Supreme Court recently noted that “bankruptcy jurisdiction, at its core, is in

                                                                   2   rem,” such that it “is premised on the debtor and his estate, and not on the creditors.” Cent. Va.

                                                                   3   Cmty. Coll. v. Katz, 546 U.S. 356, 362, 369-70, 126 S. Ct. 990, 163 L. Ed. 2d 945 (2006) (internal

                                                                   4   quotation marks omitted). Thus, a final order lifting an automatic stay is binding as to the property

                                                                   5   equitable. See Tenn. Student Assistance Corp. v. Hood, 541 U.S. 440, 448, 124 S. Ct. 1905, 158 L.

                                                                   6   Ed. 2d 764 (2004) (“A bankruptcy court’s in rem jurisdiction permits it to ‘determine all claims that

                                                                   7   anyone, whether named in the action or not, has to the property or thing in question. The proceeding

                                                                   8   is ‘one against the world.’ “) (quoting J. Moore, et al., 16 Moore’s Federal Practice § 108.70[1],

                                                                   9   [**16], p. 108-106 (3d ed. 2004)). The purpose of bankruptcy courts’ “comprehensive jurisdiction”

                                                                  10   is to enable them to “deal efficiently and expeditiously with all matters connected with the

                                                                  11   bankruptcy estate.” Celotex Corp. v. Edwards, 514 U.S. 300, 308, 115 S. Ct. 1493, 131 L. Ed. 2d
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                                                                  12   403 (1995) (internal quotation marks omitted). Reusser v. Wachovia Bank, N.A., 525 F.3d 855, 861,
                                        LOS ANGELES, CALIFORNIA




                                                                  13   2008 U.S. App. LEXIS 9822, *15-16, Bankr. L. Rep. (CCH) P81, 237.
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                                                                  14                    The Trustee has repeatedly expressed his concern in the appearances before the

                                                                  15   Superior Court that whatever the determination is to be made with respect to the life insurance

                                                                  16   policies, it must be made before the Bankruptcy Court. A final order lifting the automatic stay as

                                                                  17   briefed and submitted to the Bankruptcy Court by the Menlo Trust would be binding as to the

                                                                  18   property or interest in question as to all creditors of the estate. Tenn. Student Assistance Corp. v.

                                                                  19   Hood, 541 U.S. 440, 448, 124 S. Ct. 1905, 158 L. Ed. 2d 764 (2004) The Aug. 18th Minute Order, if

                                                                  20   upheld, will simply create a fire-storm of litigation. The bankruptcy court has exclusive jurisdiction

                                                                  21   over property of the estate. This is so even when there is a concurrent proceedings in state court. See

                                                                  22   Teel v. Teel (In re Teel), 34 B.R. 762, 763-64 (9th Cir. BAP 1983) (referencing dissolution of

                                                                  23   marriage proceedings in state court). Debilio v. Golden (In re Debilio), No. CC-13-1441-TaPaKi,

                                                                  24   2014 Bankr. LEXIS 3886, *9 (B.A.P. 9th Cir. Sep. 11, 2014) (bankruptcy court has exclusive

                                                                  25   jurisdiction over property of a debtor’s bankruptcy estate).

                                                                  26                    Granting the Motion is necessary to protect the rights of all creditors of the Debtor’s

                                                                  27   estate, to prevent piecemeal litigation in various non-bankruptcy courts, and to avoid the

                                                                  28   unnecessary depletion of estate resources.

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                                                                   1           The Debtor’s Conduct Has No Bearing on the Legal Issues in the Bankruptcy Case

                                                                   2                    It is black letter law, that when a bankruptcy petition is filed, an estate is created

                                                                   3   consisting of all legal or equitable “interests of a debtor in property” as of commencement of the

                                                                   4   case, as created and defined by non-bankruptcy law; in other words, the rights a debtor has in

                                                                   5   property at commencement of a case continue in bankruptcy as they existed at the commencement of

                                                                   6   the case. 11 U.S.C. § 541(a); Frazer v. Drummond (In re Frazer), 377 B.R. 621, 626 (B.A.P. 9th Cir.

                                                                   7   2007). (Emphasis Added) The Debtor’s improper conduct, false declarations, and the Aug. 18

                                                                   8   Minute Order directing the Debtor to document what is, and is not, property of the estate, is

                                                                   9   misdirected. The Debtor, and his post-petition conduct, have no impact on what is an “interest of a

                                                                  10   debtor in property,” especially in a case where the Trustee was appointed.

                                                                  11                    Where a chapter 11 trustee has been appointed, either for cause or in the interests of
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                                                                  12   creditors, the duties and obligations set forth in section 1107 of the Bankruptcy Code are transferred
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                                                                  13   to the trustee, in addition to the statutory duties set out in section 1106 of the Bankruptcy Code. As a
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                                                                  14   result, a chapter 11 trustee stands in the shoes of the debtor and thereafter performs the fiduciary

                                                                  15   debtor-in-possession duties. United States v. One 2009 Maserati Granturismo, 2016 U.S. Dist.

                                                                  16   LEXIS 119383, 2016 WL 4502457, at *4 (C.D. Cal. June 6, 2016). See In re Easterday Ranches,

                                                                  17   Inc., 647 B.R. 236, 256, ftnt. 27 (Bankr. E.D. Wash. 2022) (explaining how “the duty of the trustee

                                                                  18   or debtor-in-possession is to gather estate assets for pro rata distribution to all creditors, which

                                                                  19   creates “a fiduciary duty to all creditors . . . to protect the interests of all creditors collectively.”)

                                                                  20                    The Superior Court’s continuation of various hearings post-petition, other than to

                                                                  21   hold the Debtor in contempt for violations of orders or decorum of the Superior Court, seeks to

                                                                  22   displace the role of the Trustee and the Bankruptcy Court. These demands have the potential to

                                                                  23   harm creditors of the Estate, waste judicial resources and create the potential for even more

                                                                  24   litigation. The Trustee was and is prepared to work with the Menlo Trust to determine its rights or

                                                                  25   claim to separate property. However, first and foremost, the Menlo Trust must be forthcoming in its

                                                                  26   representations to produce documents rather than the current course to improve its position among

                                                                  27   general unsecured creditors. (See Decl. of J. Nolan, ¶17)

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                                                                   1                                                  V.
                                                                                                                  CONCLUSION
                                                                   2

                                                                   3           For the reasons set forth above, the Trustee respectfully requests that this Court enter an

                                                                   4   order to be lodged consistent with the Motion, granting this Motion in its entirety, retaining

                                                                   5   jurisdiction for the filing of a motion for fees and costs associated with the violation of the automatic

                                                                   6   stay, and granting such other and further relief as this Court deems just and proper.

                                                                   7   Dated: August 28, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                                                   8
                                                                                                                     By: /s/ Jeffrey P. Nolan
                                                                   9                                                     Jeffrey W. Dulberg
                                                                                                                         John W. Lucas
                                                                  10                                                     Jeffrey P. Nolan

                                                                  11                                                      Proposed Attorneys for
                                                                                                                          Bradley D. Sharp, Chapter 11 Trustee
P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                                                   1                                  DECLARATION OF JEFFREY P. NOLAN

                                                                   2
                                                                               I, Jeffrey P. Nolan, declare:
                                                                   3
                                                                               1.         I am an attorney at law duly licensed to practice before all courts in the State of
                                                                   4
                                                                       California. I am an attorney with the law firm of Pachulski Stang Ziehl & Jones LLP, proposed
                                                                   5
                                                                       attorneys of record for Bradley D. Sharp, Chapter 11 Trustee of the estate of Leslie Klein (“Klein” or
                                                                   6
                                                                       the “Debtor”). The facts stated herein are of my own personal knowledge, or made known to me
                                                                   7
                                                                       from a review of the files and pleadings in this action which are maintained in the ordinary course of
                                                                   8
                                                                       business. If called upon as a witness to any facts set forth herein, I could and would competently
                                                                   9
                                                                       testify thereto.
                                                                  10
                                                                               2.         The examination requested through the Motion cannot proceed under Federal Rules
                                                                  11
                                                                       of Bankruptcy Procedure 7030 or 9014 because no adversary proceeding or contested matter is
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                                                                  12
                                                                       currently pending encompassing the matters subject to inquiry.
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                                                                               3.         Attached hereto as Exhibits A, is a true and correct copy of the Complaint for (1)
                                                                  14
                                                                       Fraud; (2) Breach of Fiduciary Duty; (3) Conversion; (4) Money Had And Received; (5) Unjust
                                                                  15
                                                                       Enrichment and (6) Accounting filed in the Superior Court of the State of California, Case Number
                                                                  16
                                                                       21 ST CV 31915, Vendriger, et al., v. Klein.
                                                                  17
                                                                               4.         Attached hereto as Exhibit B, is a true and correct copy of the Report and
                                                                  18
                                                                       Recommendation of the Court-Appointed Referee on Examination and Adjudication of the Trustee’s
                                                                  19
                                                                       First, Second, and Third Accountings On Each of the Twenty-Four Trusts At Issue For the Trust
                                                                  20
                                                                       Periods September 10, 1996-June 30, 2013, July 1, 2013-December 31, 2016 And January 1, 2017-
                                                                  21
                                                                       September 30, 2018, as attached to proof of claim 13-2 filed by the Menlo Parties in the United
                                                                  22
                                                                       States Bankruptcy Court, Central District of California, in case number 2:23-bk-10990-SK.
                                                                  23
                                                                               5.         Attached hereto as Exhibit C is a true and correct copy of the Vago v. Klein
                                                                  24
                                                                       Complaint to Determine the Nondischargeability of Certain Debts owed by Debtor Leslie Klein to
                                                                  25
                                                                       Erica and Joseph Vago Pursuant to 11 U.S.C. §523, and To Deny Discharge Pursuant to Section
                                                                  26
                                                                       727(A)(12) and filed in the United States Bankruptcy Court, Central District of California, in case
                                                                  27
                                                                       number 2:23-bk-10990-SK.
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                                                                               6.         Attached hereto as Exhibit D is a true and correct copy of the Mermelstein v. Klein

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                                                                   1   Complaint for Nondischargeability of Debt Pursuant to 11 U.S.C. §523(a)(2)(A), 11 U.S.C.

                                                                   2   §523(a)(4) & 11 U.S.C. §523(a)(6) & for Denial Of Discharge Pursuant to 11 USC §727(a)(2)(A);

                                                                   3   11 USC §727(a)(2)(B); 11 USC §727(a)(3); 11 USC §727(a)(4)’ 11 USC §727(a)(5), and filed in the

                                                                   4   United States Bankruptcy Court, Central District of California, in case number 2:23-bk-10990-SK.

                                                                   5           7.       Attached hereto as Exhibit E is a true and correct copy of the Jeffrey Siegel ,

                                                                   6   successor trustee of the Scott Trust v. Klein Complaint for To Deny dischargeability of Debt and

                                                                   7   Denial of Discharge Pursuant to 11 U.S.C. §523(a)(2), 11 U.S.C. §523(a)(4) & 11 U.S.C. §523(a)(6)

                                                                   8   and filed in the United States Bankruptcy Court, Central District of California, in case number 2:23-

                                                                   9   bk-10990-SK.

                                                                  10           8.       Attached hereto as Exhibits F is a true and correct copy of the Decision and Order,

                                                                  11   Stipulated Surrender of License and Order and Accusation issued by the California Board of
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                                                                  12   Accountancy, Department of Consumer Affairs, State of California, as printed from the state
                                        LOS ANGELES, CALIFORNIA




                                                                  13   website.
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                                                                  14           9.       Attached hereto as Exhibits G is a true and correct copy of the Interim Order after

                                                                  15   Hearing dated June 5, 2023, as issued by the Hon. Ana Maria Luna.

                                                                  16           10.      Attached hereto as Exhibits H is a true and correct copy of the Trustee’s Response

                                                                  17   filed prior to the July 10, 2023 hearing in the Superior Court, State of California.

                                                                  18           11.      On August 4, 2023, the Trustee scheduled a conference call with counsel for the

                                                                  19   Menlo Trust to facilitate the exchange of information and documents surrounding the life insurance

                                                                  20   policies. The Trustee was present as well as his counsel and advisors. The Trustee renewed his

                                                                  21   request for documents from the Menlo Trust. Notwithstanding this good faith effort on the Trustee’s

                                                                  22   part, the Trustees of the Menlo Trust subsequently provided no documents to the Trustee.

                                                                  23           12.      On August 7, 2023, the Trustee issued a proposal to the Menlo Trust to requesting

                                                                  24   again the documents and a schedule to allow the Trustee to review the documents. Attached hereto

                                                                  25   as Exhibit I is a true and correct copy of an email and stipulation exchanged between counsel for the

                                                                  26   Trustee and the Menlo Trust. The Menlo Trust refused to sign the Stipulation and more importantly

                                                                  27   did not forward documents with respect to the life insurance policies.

                                                                  28           13.      Attached hereto as Exhibit J is a true and correct copy of an email attaching the

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                                                                   1   correspondence dated August 14, 2023, as addressed to counsel to the Menlo Trust. The Menlo Trust

                                                                   2   provided no documents to the Trustee in response to the correspondence.

                                                                   3           14.      Attached hereto as Exhibits K is a true and correct copy of the Minute Order dated

                                                                   4   August 18, 2023, as issued by the Hon. Ana Maria Luna of the Superior Court. County of Los

                                                                   5   Angeles.

                                                                   6           15.      Attached hereto as Exhibits L is a true and correct copy of the Response filed by one

                                                                   7   of the Co-Trustees of the Menlo Trust, as dated July 7, 2023.

                                                                   8           16.      On July 24, 2023 the Trustee filed a Motion for the Examination of Les Klein and

                                                                   9   Associates, Inc., a professional law corporation, pursuant to Fed. R. Bankr. 2004 . On August 18,

                                                                  10   2023, the Court entered an Order granting the 2004 Examination [Dkt. No. 272]. I have been in

                                                                  11   contact with counsel for the Law Firm regarding the production of documents and the Debtor has
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                                                                  12   been identified as the custodian of the Law Firm records including the bank records and responsive
                                        LOS ANGELES, CALIFORNIA




                                                                  13   documents outlined in the subpoena.
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                                                                  14           17.      As of the date of the filing of this Motion, the Menlo Trust has provided no

                                                                  15   documents to the Trustee with respect to the life insurance policies.

                                                                  16           I declare under penalty of perjury pursuant to the laws of the United States that the foregoing

                                                                  17   is true and correct.

                                                                  18           Executed this 28th day of August, 2023, at Los Angeles, California.

                                                                  19

                                                                  20                                                         /s/ Jeffrey P. Nolan
                                                                                                                                Jeffrey P. Nolan
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                                                    FIRST AMENDMENT TRUST
                                                      WENORIGER FAMILY

                   THIS FIRST AMENDED TRUST AGREEMENT r eplaces the prior Trust
                   Agree111ent dated July 10, 1986, and is entered into by and
                   between OSCAR WENDRIGER and TANIA WENDRIGER, "HusbandN and
                   "Wife," respectively, of the County ot Lo& Angeles, in the
                   State of California, hereinafter called 11·Trustors," and OSCAR
                   WENDRIGER and TANIA WENDRIGER ot tho Stato ot California,
                   horoinaft•r r•f•rred to as "Cotrustees. M
                   In construing this Trust the fo~lowing definitions shall
                   apply:
                   l.   Whenever used herein the expression "Trustors" shall
                   refer to OSCAR WENORIGER and TANIA HENORIGER.
                   2.   Whenever used herein the expression °0riginal
                   cotrustees" shall refer to OSCAR WENDRIGER and TANIA
                   WENDRIGER.
                   J.   Whenever used herein tho oxpression "Original cotrustec"
                   shall refer to either OSCAR WENDRIGER or TANIA WENDRIGER,
                   4.   Whenever used herein the expression NSuccessor Trustee"
                   shall reter to JACOB a . k.a. YAACOV VENDRIGER and ADI
                   VENDRIGER.
                   5.   Whenever uaed herein the expression "Alternate Trustee"
                   shall refer to the surviving successor Trustee and SHLOMO
               ~   MENl<ES.
                   6.    Whenever used herein the expression "Trustee" shall be
                   deeme d a reference to whomever is serving as Truste e, or
                   Cotrustees, whether original, successor or alternate.
                   7.    Tho ini tial primary beneticiarie• ot this Trus t Est ato
                   shall be OSCAR WENDRIGER and TANIA WENDRIGER.
                   8.    The effective date of this Trust Agree.ment shall. be its
                   date of execution.

                   I.     TRUST PROPERTY
                          A.     Original Trust Estate
                            The Trustors a cknowledge that they have transferred
                   to the Trustee without consideration the sum of ton dollars,
                   along with the foll owing:
                   PERSONAL PROPERTl: All tangible and intangible held personal
                   property that the Truetors, either separately or as COJIIJIIUnity
                   property, now own or do hereafter acquiro, including but not


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      limited to household furniture, furnishings, and utensils;
      equipment and appliances; a rt; clothing; cash; personal
      effects; bank accounts; registered and unregistered
      securities; notes receivables security interests and liens;
      interests in partnerships, firms, businesses (including
      inventory), and corporations ; contract rights; ana a~ounts
      due from e~ployers; excluding, however, any and all such
      property subject to any (other) trust or power of
      appointment; and any property subject to a pledge, security
      agreement or legal restriction on transfer,
     All such property owned by Tru•tora shall bo considered and
     treated as co1U11unity property unless listed as separate
     property in this Trust on Schedule B (the separate property
     ot husband, it any), and in Schedule c (the separate property
     of wife, if any).
     All such property, which is hereby delivered by the Trustors
     to the TrUstee, shall be held, administered, and distributed
     by the Trustee as hereinafter set forth.

          B.   Additions to Trust Estate
              Additional property may be added to the Trust Estate
     at any time by the Trustors or either o! the~, or by any
     person or persons, by inter vivos or testamentary transfer.
     All such original and additional property is referred to
     herein collectively as the Trust Estate, and shall be held,
     managed cmd distributed as here.in provided.
               i.   Enlployee Benefit Plans
                  In the event that any designation ot the Trustee
     o~ this Trust as Beneficiary i n any employee benefit plan in
     which the Trustor• may have an i nt•r••t shall be inettectual
     in whole or in part, the Trustors specifically request that
     the co111111ittee, or other group having authority to do so under
     any suoh plans, ••lect the Trustee of the Trust as
     beneficiary of such plans to the ~axi.um extent possible ,
     The Tru~tQQ may aleot the mode of payment which, in the
     Trustee's discretion, appears to be the most advantageous
     option available to the Trust and/or lts then current income,
     Beneficiaries in terms ot income ta~. estato and inhoritane•
     tax, and/or inv,stment return considerations, based on the
     Trustee's evaluation ot the facts and circu•stances relevant
     to such conQiderations as they exist at the time the Trustee
     makes such election. FUrther , the Trustee nay, predicated
     upon th• foregoing consideration, elect in writing not t o
     treat the death benefits as a lump aWR distribution tor
     income tax purposes and thus exclude the maximum allowed from


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                eatate taxes . An election by a T~stee in good faith in the
                exaroiae of the discretionary power conferred upon it shall
                be final and binding upon all paraon• whoJ11SOaver and shall be
                a full acquittance and discharge to the Truatea, and the
                Truatee shall not be liable to .any peraon by reaaon of its
                exerciaa of such discretionary power.         ·
                           c.      Character of Property Unchanged
                           Tb• property comprising the original corpua of the
                '?r\Ult Estate is comaunity property of the Truatora, except as
                otlierwi•• specifically indicated. During the joint lives of
                the Truators, any property tranaferre4 to this Truat shall
                retain it• original character. All such property •hall be
                aaaUJlled to be community property unl••• otherwise
                epeoifically indicated in writinq by the TrUatora. In the
                event or revoCatio~, the Truetee eha11 diatributo •ugh
                property to the Truatora baaed on the sue property rights
                they had prior to transfer to the Tnaat. Any and all gifts
                made by the Truetora of Trust                       ••••t•
                                                       ah.all constitute a
                revocation by the 1'ruators as to such property, and,
                therefore, a gift by any Truator having an interest in that
                property would al•o constitute a revocation.
                 II.       ORJ:GINAL AND SUCCESSOR 'l'RUSTDS
                           A.      ~~i9inal Cotruat•••
                                   Th• Original Cotrustaas UJJder this Declaratipn ot
                Trust shall be as hereinabove defined, to serve with all of
                the obligation, powers, and authori:ty contained within this
                Truat Agreament.
                           D.      Death or Resignation of Qriginal Cotruatea
                         In the event of the death of either original
                cotrustee, or if for any reason whatsoever he or she ceases
                to serve as cotruatae b.ereunder, the T1;U•tore nomi1Ulte ·can<1
                appoint the remaining cotruatee to serve aa Trustee hereunder
                without the approval Qf any Court.
                         In the event of the death of both Original
               cotrustees, or if tor any reason whatsoever both cease to
               aerve as Trustee hereunder, the TrUatora nominate and appoint
               the successor 'l'rus·t •• aa hereinabove defined to serve aa
               Trustee hereunder without the approval of any court. In the
               event that the abovenamed Successor 'l'rustee consist• of more
               th.an one peraon then if for any raa•on whatsoever any of the
               aroresaid do not serve or cease to serve as cotruatee
               hereunder, tha irrustora nominate and appoint wh011soevar ot


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      the aforenaaed •hall be available to serve ae Successor
      Trustee hereunder without the approval of any court.
               In the event of the death of the successor Trustee
      as hereinabove defined, or if for any reason whatsoever he,
      she, or they cease(s) to serve or for any reason refuses to
      serve as Trustee hereunder, the Truators no~inate and appoint
      the designated Alternate Trustee to serve as Tru~tee
      hereunder without the approval ot any court. xn the event
      that the Alternate Trustee consists of more than one person
      then if for any reason whatsoever any of the aforesa!d do not
      serve or cease to serve as Cotnistee hereunder, the Trustors
      nominate and appoint whomsoever of the aforenaaed shall be
      available to serve as successor Trustee hereunder without the
      approval of any court.
               In the event of the death of the original Trustors
      hereof, and in the event that neither the aforenamed
      Successor Trustee or the a!orementioned Alternate Trustee is
      available then the majority o! then living beneficiaries
      hereunder who are issue of the Original Trustors hereof shall
      have the right to select another Successor Trustee hereunder
      to serve without approval ot any court. In the case ot minor
      beneficiaries, then any guardian of such a beneficiary shall
      act on behalf of such ~inor beneficiary to select a successor
      Trustee.
           c.    Discharge or Resignation of Trustee
              The Trustors &hall have tha ri9ht to discharge the
     Trustee of any Trust hereunder. Discharge of a Trustee shall
     be by delivery to such Trustee of thirty (JO) daya' written
     notice of discharge, accompanied by the name ot the intended
     Successor Trustee.
           D.    Duties and Responsibilities of Successor Trustees
              No successor Trustee shall have any responsibility
     tor any acts or omissions ot any prior Trustee and no duty to
     audit or investiaate the accounts or adlllini$tr~tion of any
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     parson having a present or future beneficial interest under a
     Trust hereunder, any duty to take action to obtain redress
     for breach oft.rust. It is the intent ot the Original
     Truetors that the successor Trustee shall not be required to
     obtain court approval, discharge, or pursue any other Court
     proceedings at the request ot incOll\e Beneficiaries without
     first attempting to obtain releases troll the majority of the
     adult incoae Beneficiaries with such release and discharge
     being complatoly adequate as to all responsibilities


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      incumbent upon the Trustee . However, under any
      circumstances, any claim or action against any previous
      Trustee must in any event be asserted or tiled by any
      Beneficiary within one (1) year after the appointment of a
      Successor Trustee.
            E.   Bond
              No Trustee shall be required to post bond or any
     other security for the faithful pertoraance of any duties or
     obligations of such office.                         .,
     III, INITIAL TRUST
           The Trustee shall hold, manage, invest, and reinvest the
     Trust Estate and shall collect the income thereof, and shall,
     upon demand of the Trustors, pay to the Trustors during their
     joint lives all community net income of tha · Trust Estate and
     shall pay to each Trust~r all separate net income from his or
     her respective share of the Trust Estate. In the event that
     the Trustors do not demand payment of the net income of
     CODllllunity property, or it either of the Trustors fails to
     demond distribution of 6eparate property net income, then the
     Trustee may at his discretion accumulate such income, and
     such inco~e will becol'De property of the Trust Estate.
          The Trustee shall further pay colllJl\unity property
     principal, up to the whole thereof, to the Trustors upon
     written request. Upon the written request of the Truator who
     transferred separate estate property to the Trust, the
     Trustee shall pay so much of the principal of the separate
     estate established by such Trustor, up to the whole thereof,
     as he or she ahall request.
     IV,   REVOCATION AND AMENDMENT
           Either of the Trus tors, during their joint lives, may at
     any time and upon succe ssive occasions, revoke this Trust in
     whole or in part.     The Trustors may jointly alter or amend
     any of its provisions .     Any Amendment may be similarly
     cancelled or amended . It a Truster ls incompetent, such
     power to revoke, alter or amend the Trust may be eKeroised by
     the guardian or conservator at the direction of a court of
     competent jurie4iction where such court approval i~ raquirod.
           From and after the death of Githor of the Original
    Truators, this Agreement, · insofar as it relates to the
    SURVIVOR'S TRUST, may be revoked or amonded at any time and
    from til'IO to time by the Survivor delivering written notice
    of revocation or amendment to the Trustee; provided, however,


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         that the duties and liabilities ot th• Trustee cannot be
         increased without ·its .consent. In the event or any
         revocation, the revoking party or parties .shall inde:mnify the
         Trustee in a manner satisfactory to it against liabilities
         lawfully incurred by th• Tru•t•• in th• conduct of its
         office. If a survivor is ino011petent, such power to revoke,
         alter or a.end the Trust may be exerciaed by the guardian or
         conservator at the direction of a court of co~petent
          jurisdiction.    Bxcept as hereinabove provided, this
         Agreement, and the Trusts evidenced hereby, are irrevocable
         and shall not be sul:>ject to amendment.
         V.    DISTRIBtJ'l'IONS ON DEATH OF EITHER TRUSTOR
              Upon the death of the original TrUstor hereof whose
         death shall occur first. the Trustee Shall make any such
         distributions of specific gifta which are itemized and listed
         on Schedule D (the Specific Gift Distribution Schedule) which
         ia attached hereto and incorporated herein by reference.
         With reference to any specific gifts 11a.da in accordance with
         Schedule D, whether referenced in this Article v or Article
         VI below, the following ahall apply. In the event that a · ·
         Beneficiary does not survive the decedent spouae, any gift to
         the deceased Beneficiary shall lapse and pass as part of the
         rest and residue of the 'l'rUat Estate.
              ~haroa~tor, tho TrUatoo •hall divido tho ~ruat Eatato,
         including all property received as a result of the Decedent's
         death, into two parts, each part to be administered as a
         separate Trust to be known respectively as the 11 SURVIVOR'S
         T.ROST," and the .. DECBDBNT'S T.Rt1S'1' . " Reference hereafter to
         the "DECEDENT" shall refer to either of the Trustors whose
         death shall first occur, and reference to the "SURVIVOR•
         shall refer to the survivinq Truster.
              A.   Decedent's Trust
                   Th• DSCBCEN'l''S TRUST •ha11 include an alllOunt equal
         to the lesser of the equivalent Estate Tax Exemption in
         ef!eot 'during the year or the death of the decedent, or one-
         half (l/2) of the 'l'rUst Estate.
                  As a method of illustration of speci,f ic amounts for
         the Estate Tax EXemption, the Trustee is directed to




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        distribute to the DBCBDENT'S 'l'RUST an amount equal, in each
        year, to the aaounta as indicated below.

                                                EQUIVALENT ESTATE
                   DATE or DEATH                    TAX BXEKPTIOH
                   1990 and after                          $600,000

                   In determining the equivalent :r:atAte Tax Exemption,
        the Trustee ia to take into consideration any litetillle gifts
        made which may decrease the actual amount availabia to
        transfer to the DBCBDBN'r'S 'l'RUST. The Truators acknowledge
        that their intent is that the aJDount to~• distributed to the
        DBCEDEN'l''S 'l'RUS'l' shall not exceed an amount which will
        provide tor a zero (O) tax upon the death of the first of the
        Trustora to die.
              B.   survivor ' s 'l'ruat
                 All at tha raGt and residua ot the assets ot the
        Trust Estate shall be allocated to the SURVIVOR'S TRUST.
              c. other Transfers
                  In the event that property ia received by th•
        TrUatee , either by rnter Vivo• or Testamentary Transfer, and
        directions are contained in the Instrument ot Transfer tor
        allocation to or between the SURVJ:VOR'S 'l'RUST and the
        DECEDENT'S 'l'ROST, then the 'l'rustee shall malc:e allocation i n
        accordance with auch directions, anything to the contrary
        notwitbetandin~ .     In the event no s~ci!io in•~rue~ion• aro
        given as to allocation, such property as is received trom a
        source other than the Trustors (or either of them), shall be
        placed in the SURVIVOR'S TRUST.
        VI.   SURVIVOR'S TRUST
              A.   Distribution of Income
                 All the net income shall be distri))uted in
        convenient installments not less trequently than quarterly to
        the Survivor during h1e or her i1ret1me.
              B.   Powers of Appointment ot Principal
                 During hi• or her life~iae, the Survivor ahall have
        a general power to appoint the principal and any
        undistributed income of the SURVIVOR'S 'l'RUS~ or any part
        thereof, ta hiaself or herself, or to any per•on or persons.



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               Upon the death of the Survivor, he or she shall have
      the power to appoint the principal and any undistributed
      income of the SURVIVOR'S TRUST or any part thereof to his or
      her Estate or any person or persons, or to the DECEDENT'S
      TRUST. Such power of appointment shall be exercised only by
      means of written directions executed by the Survivor and
      delivered to the Trustee during the lifetime of the survivor.
      If the Survivor executes and delivers nore than one such
      written direction to the Trustee, the last one .shall control
      unless, by its context, the Survivor clearly indicates
      otherwise.                                           ,·
           c. Death of survivor
                                         ..
               Upon the death of the Survivor, the SURVIVOR'S TRUST
      shall terminate. The Trustee shall distribute the Trust
      Estate in accordance with and to the extent provided by the
      survivor's exercise of his or her powe r of appointment. All
      specific gifts itemized and listed on Schedule D hereof to be
      distributed by the Trustee at that time shall then be
      distributed by the Trustee. Any part ot the Trust Estate
      with respect to which the Survivor shall not have exercised
      his or her power of appointment shall beco11e a part of the
      trust established under Article VIII hereof, and be        ·
      administered by the Trustee, in accordance with the
      provisions set forth herein.
      VII. DECEDENT'S TRUST
           A.   Distribution of Incone
               Allot the net income chall be distributed in
      convenient installments, not less frequently than quarterly,
      to the Survivor during his or her lifetime.
           8,   Distribution of Principal
                The Trustee shall also distribute principal to the
     survivor, which in the sole discretion or the Trustee is
     necessary to provide proper support for the Survivor as
     defined under Article IX and Article XIII, A.2.
          C,    Survivor's Power of AppointMent

              The Survivor, during his or her lifetime, shall have
     the power to appoint the principal and undistributed incomQ
     of the Trust Estate, or any part thereof, to himself or to
     herself, or to any parson or parsons; however, the survivor
     may exercise said power of appointment during any calendar
     year only to the extent of Five Thousand Dollars ($5,000) or


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     five percent (5%) of the aggregate value of the Trust Estate,
     whichever amount shall be greater, Any such power ot
     appointment shall not be construed to be cumulative and if
     not exercised in any calendar year, such power shall be
     terminated as to that year. Such power of appointment shall
     be exercised only by means of written direction executed by
     the Survivor and delivered to the Trustee during the lifetime
     of the survivor. If the survivor executes and delivers more
     than one such written direction to the Trustee, the last one
     shall control unless, by its context, the survivor clearly
     indicates otherwise.                                 l

          D.   Death of Survivor
              Upon the death of the survivor, the DECEDENT'S TRUST
     shall terminate, and shall become a part of the Trust created
     under Article VlII, and be administered in accordance with
     the provisions of said Article.
     VIII.CHILDREN'S TRUST
          A,   Income and Principal Prior to Division
               Prior to division of the Children's Trust as
     provided for in Paraqraph c hereinafter, the Trustee is
     directed to add any undistributed income to the principal .
          B,   Advancements
               1.   Request for Advancements
                    Any Beneficiary of this TrUst may, at any time,
     and upon successive occasions, by written instrwnent filed
     with the Trustee, request an advancement or advanceMents on
     his or her ultimate anticipated share ot the Children's
     Trust. If, in its solQ discretion, the Trustee determines
     that the requested advancement or advancements will be used
     tor a worthy objective then the Trustee may make such
     advancement or advancements in whole or in part from the
    Beneficiary's share of the Trust. As used herein, the term
    "worthy objectives" may include, but not be limited to, the
    purchase of a home appropriate to the needs and circumstances
    of the Beneficiary; the acquisition of a business interest in
    keepinq with the .age, training and experience of the
    Beneficiary, provided that such business interest is needed
    for the support of the Benericiary and his or her family, and
     £ur~her provided thGt there lo G reGeonable p~obaLilit1 u£
    success in the judg111ent of the Trustee; and the continuance
    of the education of any Beneficiary on a full-time progran in
    an institution of higher learning either on an undergraduate


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      or graduate level or at a trade or vocational school, with
      expenses including, but not limited to, tuition, books,
      laboratory fees, room, board and a reasonable spending
      allowance. The Trustee shall incur no liability or
      obligation to any Beneficiary or any othe r pers on by an
      exercise, or nonexercise, in good faith of its discretion
      hereunder.

           c. Division of Children's Trust
                l.   Time of Division
                      The Children's Trust shall be divided into
      shares ill\Jl\ediately upon the death of the survivor of the
      Original Trustors.
                2.   Terms of Division
                  The Trustee shall divide two-thirds or all or
     the assets then re~aining in the Children's Trust, without
     making any adjustments tor payments for support and
     maintenance tor any Beneficiary as provided for under Article
     X, into equal shares with one share for each of the Trustors'
     then living children and one share for each deceased child of
     the Trustors who then has issue surviving. The sole children
     ofthe Trustors are YAACOV a.k.a. JACOB VENDRIGER and ADI
     VENDRIGER.
                  The Trustee shall divide the remaining one-third
     of tho Tru~t E~tato into a~ many ~haro~ a~ thoro aro thon
     living grandchildren . The share arising out of the existence
     of each grandchild shall be added to the share of the parent
     of such grandchild for the benefit of said parent.
                   The division shall be. on a per stirpes basis,
     except that if none of the Trustors' children survive and if
     only grandchildren survive, the division into shares shall be
     on a per oapita basis . The share ot each deceased child
     shall be divtded into proportionate smaller shares, or
     subshares, for each of such deceased child's then living
     issue. After the division ot the assets into shares and
     subshares as provided above, the shares shall be distributed
     and/or held as hereinafter provided,

           D.   Distribution and Administration of Children's Trust
              The Trustee shall distribute the respective share or
     subshare to any Beneficiary who is a child of the Trustors
     immediately upon the death of the Survivor of the Trustors .



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               Trustee shall distribute the respective share or
      subshare to any Beneficiary who has attained the age of
      thirty years old. For any Beneficiary who has not attained
      the age of 30, the following procedures shall govern.
              Upon the division of the Children's Trust into
     shares and subshares and subsequent thereto; income from each
     share or subshare therefrom shall be paid not less than
     quarter-annually to or !or the benefit of the respective
     Beneficiary. In addition to income, the Trustee shall
     distribute the principal from the respective share oi
     subshare to the Beneficiary upop the Beneficiary's attaining
     or having attained the age of 30.
              In the event a Beneficiary of the Trustors dies with
     funds remaining in his or her share or subshare, then such
     funds shall be paid to his or her then living issue, or if
     there be no living issue, then to the remaining Beneficiaries
     of the Trustors, as and in the manner provided for under
     NTerms of Division."
               In tho ovont a BQnQf.ic1~ry olGCts to hava the
     Trustee continue to administer the distributed portion of the
     share or subshare, to which such Beneficiary is entitled as
     hereinbetore provided, or any part thereof, the Trustee may
     continue to administer such Beneficiary's interest as a
     separate TrUst share in accordance with the terms of Article
     X and XI hereof, subject to the continuing right of such
     Beneficiary to withdraw at any ti~e tha amounts of said
     separate Trust share. If a Beneficiary dies with funds
     remaining in his or her separate Trust share, such funds
     shall be paid as he or she designated by testamentary or
     inter vivos disposition, and ~ailin9 sane, to his er her
     estate.    Upon the termination of any share, if any assets
     are distributable to a person who is not yet entitled to
     distribution, then the distributable share of such
     Boneficiary shall at once vest in him or her, but the Trustee
     in its sole discretion, may continue to hold such
     distributable share until said Beneficiary is entitled to
     distribution, using QO much of the income and/or principal
     thereot as may be necessary in the opinion of the Trustee for
     the support of such beneficiary and paying to such
     Beneficiary the then remaining assets of his or her share
     upon his or her becoming entitled to distribution. If the
     said Beneficiary dies prior to such time as he or she would
     bG entitled to diGtribution, all the remaining assets of such
     individual's interest in the Trust share otherwise payabie to
     him or her shall be paid to the estate of such Beneficiary.




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           E.   Provision for Grandchildren
             If, prior to the tenaination of the Children's
    Trust, any o! the Trustors' children are deceased with issue
    surviving, then the Trustee may, in its discretion, support
    such issue of deceased children as though they were children
    of the Trustors.
           F.   Termination
                1.   No Issue surviving                      ,-
                                       ..
                     In the event that no issue of the Trustors
    ~urvive t&e Trustors' deaths, or survive the distribution of
    the Trust Estate, then and in that event all of the assets
    that would have been a part of the Trust Estate shall be
    distributed in the following •anner: any assets of the Trust
    Estate which for any reason cannot be distributed in this
    manner shall be distributed fifty percent to the otherwise
    lawful heirs free of trust and fifty percent to charitable
    facilities in Israel for the benefit of injured soldiers.
                2.   Discretionary Tenaination
                 Any time that a Trust or Trust share created
    under this Agreement ha~, in the judglllent of th• Trustee, a
    value so low that the expenses of maintaining the Trust
    cannot be reasonably justified, the Trustee may, in its
    discretion, but is not required to, terrainate such Trust or
    Trust share. In case of such termination, the Trustee shall
    distribute forthwith the share so ter11inated to the primary
     Beneficiaries thereof .
                3.   Mandatory Termination
                  The Trust Estate shall terminate in any and all
     aventG not later than twenty-one (21) years arter the death
     of the last surviving Beneficiary herein named who is living
     at the time of death ot the Decedent, it being the intent of
    the Trustors that this Trust Agreement shall be interpreted
    so as not to violate the Rule Against Perpetuities.   The
    Trust Estate, upon such termination, shall be distributed to
    the Beneficiaries for whom, at that time, a share or subshare
    has bean set aside, each such Beneficiary to receive his or
    her share or subshare and any accumulations thereon .
     IX.   SUPPORT AND MAINTENANCE
          lf the Trustee of any Trust hereunder deems the net
     income payable from such Trust not sufficient to support any


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         Beneficiary entitled to receive suoh support pursuant to the
         terms ot this Trust Agreement, then the Trustee may, aa often
         as it deeas necessary, pay to or apply for the use and
         benefit of such Beneficiary such part of the principal of
         such Trust, up to and including the whole thereof, as the
         Trustee in its discretion believes necessary for the support
         of such Beneficiary.
              A.   standard•
                  In exercising its discretton hereunder, the1 Trustee
         shall take into consideration tbe income, earning capacity,
         resources and other sources of receipt of the Beneficiary,
         together with any other factor which the Trustee may deem
         pertinent, including the accustomed manner of living of such
         Beneficiary, but need not require the exhaustion of personal
         resources as a condition for meking disbursements under the
         authority of this paragraph. The jud9111ent of tha Trustee as
         to the propriety and amount of all such paynents shall be
         conol.uaive.

                 Notwithstanding any provision to the contrary, the
        Trustee shall not distribute principal except within the
        standards of Internal Revenue Code 2041.
              B.   Evidence of Need
                 The Trustee fflay, in its discretion, require as a
        condition precedent to the distribution of any Trust assets
        for support or advancement, that the BeneficiAry turnish
        evidence ot his or her financial condition, income, earning
        capacity and assets, in form and content satisfactory to the
        Trustee. The Trustee shall be entitled to rely upon the
        written certification of such Beneficiary or the guardian of
        such Beneficiary as to the nature and extent of such
        Beneficiary's needs for support, and the inadequacy of such
        Beneficiary's resources apart from the Trust. The Trustee
        shall not be required to make further inquiry as to the
        authenticity of the tacts so certified.
              c. Preferences
                   In exercising its discretion hereunder, the Trustee
        is to consider the needs ot the survivor tor support ae the
        prilllary purpoH of- the Trusts during his or her li!eti.Jlle,
        even if the satisfaction of such needs requires invasion of
        the entire Trust Es~ate.
                 After the death of the Survivor, the support of the
        children shall be paranount to the conservation of the Truat


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     Estate for the benefit ot those who will be entitled to take
     it on termination. The Trustee ehall, in exercising the
     discretion given herein for the benefit of the children or
     their issue, do so in such a manner as will encourage thrift,
     indu5try, and salt-reliance to the maximuro extent practicable
     by the respective Beneticiariea, and discourage extravagance
     or indolence on the part of any such Beneficiary.
          o.   Guardian's and conservator's Expenditures
              The Truators do not desire that the guardiarr'' or
     conservator of any Deneticiary should incur personal axpansg
     for the support of such Beneficiary. The Trustee shall
     disburse funds from such Beneficiary's Trust Estate tor the
     purpose of reimbursing such guardian or conservator for
     reasonable expenses incurred in accommodation of such
     Beneficiary.
     X,   POWERS OP TRUSTEE
         The Trustee shall have the following powers, duties and
    discretions in addition to those otherwise granted herein or
    by law, a nd except as elsewhere heroin ~pecitical ly
    restricted.
          A.   Retention
             The Trustee shall have the power to retain, without
    liability tor loss or depreciation resulting from such
    retention, the original assets and all other property
    hereafter transferred, devised or bequeathed to the Trustee,
    although such property may not be of the character prescribed
    by law or by th• terms of this instru11ent for the investment
    ot othor Truet aaeets, and, although i~ representa a large
    percentage or all of the Trust Estate, this said original
    property may accordingly be held as a permanent investment.
               The TrUstee shall have the power, with respect to
    any buainoss interest that may ~ecome a part or the Trust
    Estate, whether organized as a sole proprietorship,
    partnership, or corporation, and upon such terms tor such
    time and in such manner as it may deem advisable, to hold,
    retain and continue to operat• •uch bueinesa solely at the
    risk or the Trust -Estate and without liabil ity on tho part of
    the Tructoo for any- losaes reaultin9 therefrom; to dissolve,
    liquidate , or sell at such time and upon such tarl\Q as the
    Trustee may deem advisable; to incorporate s uch business and
    hold the stock as an asset of the Trust Estate: to use the
    general assets of the Trust for the purpose ot the business;
    to borrow money tor business purposes and pledge or encumber


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                      the assets of th• business or the other assets of the Trust
                      Estate to secure the loan; to employ such officers, managers,
                      employees or agents as it ~ay deea advisable in the
                      management ot such business, including electing directors,
                      officers, or employees or the Trustee to take part in the
                      111anagement o! such business as airectors or o!ticers.
                            B.   General Property Powers
                               The Trustee shall have all such powers and is
                      authorized to do all such acts, take all such proceedings and
                      exercise all such rights and pr~vileges in the management of
                      the Trust Estate as it the absolute owner thereof, including,
                      without limiting the generality of the terms, the right to
                      manage, control, sell, convey, exchange, partition, assign,
                      divide, aubdivide, improve, or repair1 to 9rant options and
                      to sell upon deterred payments; to lease for terms within or
                      extending beyond the duration of the Trust concerned for any
                      purpose, including the exploration for and renoval ot oil,
                      gas and other minerals; to enter into coJ11111unity oil leases,
                      pooling and unitization agreements; to create restrictions,
                      easements and other servitudes1 to co~promise, arbitrate or
                      otherwise adjust clai~s in tavor of or against the Trust; to
                      institute, compromise and defend actions and proceedings at
                      the expense ot the Trust Estate; and to carry such insurance
                      as tha Trust•• may deem advisable.

                            c. Powers Regarding Securities
                               The Trustee shall have, respecting securities, all
                      the rights, powers and privileges ot an owner, including the
                      right to vote stock, give proxies, pay assessments and other
                      sums deemed by the Trustee to be neceasary for the protection
                      of the Trust Estate; to participate in voting trusts, pooling
                      agreements, foreclosures, reorganizations, consolidations,
                      mergara and liquidations, and in connection therewith, to
                      deposit eeourities with and transfer title to any protective
                      or othGr conmittGG under auoh torma aa th• Tru•t•• •ay dooffi
                      ~dvisable; to exercise or sell stock subscription or
                      conversion rights; to open an account with a brokerage firm
                      of tha choosing of the Trustee in the Trustee's nane, in it•
                      own behalf for the purpose of purchasing and selling ot all
                      kinds ot securities and authorizing such brokerage tirai to
                      act upon any orders, including margin orders, options, both
                      covered and uncovered, instructions with respect to such
                      accounts and/or the delivery of securities or money therefrom
                      and received from said Trustee; and to retain as an
                      investment any securities or other property recoivod through
                      the oxerciao ot any gt the rore9oing powers, The Trustee ls
                      turther authorized to sign, deliver and/or receive any


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    doCU11ents necessary to carry out the powers contained within
    this paragraph.
         o.    Exercise Stock Options
              The Trustee is expressly authorized in the Trustee ' s
   sole discretion to exercise any option to purchase stock
   under any stock option purchase plan in which · any Decedent
   Beneficiary is a participant or may bold such option rights
   to t:.he extent that any such option rights may be exercised by
   the TrUa~•• even ~ough ~he •to~k involved is atock ol a
   corporation which may be serving as corporate Trustee f
   hereunder, regardless of the amounti of such stock or the
   percentage of the Trust Estate which may be invested in such
   stock beto~e or attar any purchase under such option.
        £.    Investlllent Powers
              1.   General
                   Th• Tru•~•• has ~he power to invest and reinvest
   principal and income, to purchase or acquire therewith every
   kind of property, real, personal or mixed, and every kind of
   investment, specifically including, but not by way of
   limitation, shares in one or more mutual funds, in any Common
   Trust FUnds administered by the Trustee, corporate
   obligations ot every kind, and stock, preterred or common,
   which persons ot prudence and discretion and intelligence
   acquire tor their own accounts.
                   The Trustee is further authorized to buy, sell
   and trade in securitioc ot a ny natura (including ahol"t: aalea)
   on margin, and for such purposes may maintain and operate
   margin accounts with brokers, and may pledge any securities
   hel d or purchased by him with such brokers as security tor
   loans and advances made to the Trustee.
              2.   Lite Insurance and Annuities
                   The Tl:'Ustee is authorized in the Trustee ' s
  discretion to maintain and/or purchase policies of life
  insurance and/or annuities on the life or for the benefit of
 · any Trust uenet1c1ar1es and to hold and pay tor the saiae as
· an investment and ~sset of the Trustee, at any ti~e and upon
  successive occasions, tha premiums to be charged against
  income or principal, as the Trustee shall determine,
               The Trustee shall have the following powers,
  duties and discretions with respect to policies of life
  insurance held as a part of the Trust Estate:


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                . a. The Trustee may pay premiuas, asses•~•nts or
    other charge.a with respect to such polioies together with all
    other charges upon such policies or otherwise required to
    preserve them as binding contracts, but shall be under no
    duty to do so.
                 b. In the event that the Trustee intends not to
    pay any premium, assessment or other charge with respect to
    any policy held by it, or otherwise intends to cancel,
    convert or substantially modify any such policy, it shall
    first give the insured, or the guardian of the person QJ! an
    insured under disability, at least fifteen (15) days' advance
    written notice of its intention to take such action.
                 c. Any amounts received by the Trustee with
    respect to any policy as a dividend shall be treated as
    principal.
                d. Upon the . receipt of proof of death of any
   person whose life is insured tor the benefit of any Trust
   hereunder, or upon maturity ot any policy payable to a
   Trustee prior to the death of the insured, the Trustee shall
   collect all SUJIS payable with respect thereto and shall
   thereafter hold such SUIIIS as principal of the respective
   Trust Estate, ~~copt th~t any interest paid by the ineurer
   for a period subseqUent to aaturity shall be considered as
   incoD1e,
                e. The TrUstee may accept any paYJDents due it
   under any settlement arrangement aade before or after the
   death ot the insured and may exercise any rights available to
   it under such arrangement .
                f . The Trustee may compromise, arbitrate or
   otherwise adju&t claims upon any policies, and may, but shall
   not be required to exercise any settlement option• available
   under such policies. Tho receipt of the Trustee to the
   insurer shall be a full discharge and the insurer is not
   required to see to the application of the proceeds.
        F.   Determination of Income and Principal
            The Trustee shall have the power and the authority
   to determine income and principal, and how receipts and
   disbur•ements, including the  f•••  of the Trustee, ahall be
   credited, cnarqad or apportioned oo between ineo•e and
   principal, however, all such detel'111ination shall be maae in
   accordance with tha law of the state of the situs of the
   Trust and the decision and the accounts of tha Trustee in


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 accordance witll said provisions shall be binding on all
 persons in int~r,es~.
           Notwithstanding the foregoing, the Trustee shall :
  (l) allocate to principal all dividends or other payments
 made by any corporation or mutual investment company that are
 designated by the company as a distribution of capital gain~;
 (2) where a premium has been paid or a discount ~eceived in
 connection with the purchase or a bond, amortize ouch pramiu~
 or discount by making an appropriate charge or credit to
 income as the case may be; and (3) charge income from time to
 time with a reasonable reserve for (a) depreciation of al).
 incoae-producing depreciable real ·or personal property, and
 capital improvements and extraordinary repairs on inco~e-
 producing property; (b) depletion of all depletable natural
 resources, and (c) all intangible property having a li~ited
 economic life. such allocations and charges need not be
 made, however, it written consents are obtained from all
 income Beneficiaries and remainder111en, vested or contingent,
 living and competent to act .
      G.   Authority to Borrow and Encumber
          Trustee shall have the power to borrow money for any
 Trust purpose upon such terms and conditions as the Trustee
 may deem proper, and to obligate the Trust Estate for
 repayment and to encumber the Trust Estate or any of its
 property by mortgage, deed of trust , pledge or otherwise,
 using such procedure to consumate the transaction as the
 Tru•t•• •ay deea adviaablo .
           In addition to the power to encumber property tor a
 loan bring made to the Trust, the Trustee is specifically
 authorized and e~powered to obligate, hypothecate and
 encumber the estate by mortgage, deed of trust, pledge or
 otherwise, or whatever form the Trustee deems appropriate, or
 to act as a third party guarantor to guarantee private.
 borrowings ot the Trustors or either of them during their
 joint lifetime. Upon the death of the decedent, such
 guarantee may only be made from the survivor's Trust .
      H.   Loans
           1,   To Trust
              The Trustee shall have the power t o, in the
 Trustee'a discretion, advance funds to any Trust herein
 created !or any Trust purpose, such advances with interest at
 current rates to be a first lien on and be repaid out of
 principal and as an expense of the Trust; and to reimburse


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   the Trustee from P,rincipal or accuaulated income for any loss
   p_;: exp_i~n.s .e··'l~~~r;red ·bY' reason ot the Trustee's ownership or
   ~~1~ing '6f· ·anf ·property in this Trust.
     ~·-
   ;.· .. ·.•....· ·.'- ..
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                ·2.   To Benefici~ries
                   The Trustee may, at any time and upon successive
   occasions, loan such sUDs to the Beneficiaries· or any of them
   as the 'l'rus·tee shall deem advisable and in the best interest
   of the Beneficiaries, such loan or loans, if made, to bear
   interest at the prevailing rate and to be unsecured or
   ••cured, aa th• Trustee may, in the Trustee's discretiori,
   direct. Provided, however, that •·the TruBtee sholl have w.i.de
   discretion in the making or denial of any such loan, and the
   Trustee's judgment in the aatter shall be conclusive and
   binding on any Beneficiary requesting any such loan.
           I,   Distributions to or tor Minor or Incompetent
            It at any time any Beneficiary entitled to receive
   income and/or principal hereunder shall be a minor or an
   incompetent or a person whoa the Trustee deems to b• unable,
   wisely or properly, to handle !undo it pQid to hi~ or her
   directly, the TrUstee may make any such payments, in tbe
   Truatee's discretion, in any one or more, or any combination,
   of the following ways:
                1.    Directly to such Beneficiary, or
            2. To the natural guardian or the legally appointed
   guardian, conservator or other fiduciary of the person or
   estate of such Beneficiary, or
                J.    To any poruon or organization !urnishing support
   for such Beneficiary, or
                4.    By the Trustee retaining the principal and
   uakinq expenditures directly tor the support of aueh
   Beneficiary.
               The Trust6e shall not be required to sae to the
   application of any funds so paid or applied, and the receipt
   of such pa~ee if disbursed for such purpose in the best
   jud!Jlllent o~ the Truatea shall be !Ull acquittance to the
   Trustee. The decisi~n ot th• Trustee a• to direct paY111•nts
   or application of tunds in the manner herein prescribed shall
   be conclusive ond binding upon all parties in interest if
   made in good faith. The Trustee is requested to make all
   such disbursements in a way calculated to dispense with the
   necessity of quardianship proceedings.


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            The Truatae may, in its aole and absolute
   discretion, require such reports and take such steps as it
   may deem requisite to assure and enforce the due application
   of such money to the purposes aforesaid.
        J.   Disbursement for FUneral and Last Illness
            The Tru•t•• ~ay pay for the last illness, funeral
   and burial expenses of either Trustor or of any other
   Beneficiary of this Trust unless adequate provision shl1,ll
   have been aade therefor through his or her Probate Estate or
   otherwise.
        K.   Notification of Trustee
            Until the Trustee shall receive written notice of
   any birth, marriage, death, or other event upon which the
   right to paY1Dent from this Trust may depend, the Trustee
   shall incur no liability tor disbursements or distributions
   made or omitted in good faith.
        L.   Division of Trusts
             In making the distributions to any Trust or share
   created under this Agreement, tho judglllent of the Trustee
   concerning the valuation of a•s•t• distributed ehall h•
   binding and conclusive upon all Beneficiaries. The Trustee
   may distribute the shares to the various Trusts or to
   Beneficiaries by making distribution in cash, or in kind, or
   partly in cash and partly in kind, or in undivided
   interests, i~ such manner as the Trustea, in its sole and
   absolute discretion, deems advisable. The Trustee may sell
   such profertr as it deems necessary to make any such division
   or distribution. The Trustee shall not be required to make
   physical division of the Trust property, except when
   necessary for the purposes of diatribution, but may, in the
   Trustee's discretion, maintain and keep the assets o! any
   separate trusts in one or more consolidated trust funds, and
   as to each consolidated trust tund, the division into various
   shares comprising such trust fund need to be made only upon
   the Trustee's books oC account, in which each separate trust
   shall be allotted its proportional share of the principal and
   inco~e of the consolidated fund and shall be charge~ with its
   proportionate part ot expenses th•reot .
        M.   Provision for Taxes
            Upon the death of either Trustor or of any other
   Beneficiary, any estate, inheritance, succession or other


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     death taxes, .duties, charges or assessments, together with
     interest, penalties costs, Trustee's compensation and
     attorney's tees which shall become dua by reason of the Trust
     Esuste or any interest therein being includable in the Estate
    ot either Truster, or of such other Beneficiary, for such tax
     purposes, may l>e paid from the TrUst Estate by the Trustee,
    in its discretion, unless other adequate provision shall have
    been made therefore. Any such payments shall· be charged to
    the principal of the Tru•t Estate. The 'l'rUstee aay make such
    P•Yllt•nt• directly, or to the EMecutor or other fiduciary of
    the Trustors or such other Beneficiary, and may rely UP.On the
    written • tatement of such fiduciary as to the amount a~d
    propriety ot such taxes, interest; penalties and other costs.
    The decision ot the Trustee as to any such paYJllents shall be
    conclusive·and binding upon all parties interested in this
    Trust or such Estate. lf the Trust Estate shall be then
    insufficient or if it be then terminated the Trustee shall be
    reillbursed by the persons to whon the Trust Estate shall have
    been distributed, to the extent of tha amount received by
    each distributee. The Trustee, before making any
    distribution or either income or principal, may accordingly
    require a refunding agreement or may withhold distribution
    pending detet'lllination or release of any tax lien .
             The Trustee is authorized to acquire by purchase,
    exchange or otherwise, property, real, personal or mixed. ,
    frqm the Executor or Administrator of the Estate of any
    Beneficiary of this Trust, even though such property may not
    be of a character prescribed by law or by the terms of the
    Trust instrument tor the investment of Trust tunda, and
    although the acquisition of such property may rosult in a
    large percentage or all of the Trust Estate being invested in
    one class of property. The Trustee is expressly authorizad
    to retain the property so acquired so long as it shall deea
    this advisable and to make secured or unsecured loans to the
    Executor or Administrator of such Estate upon such ter111s as
    the Trustee shall deem advisable, such procedures being
   authorized to the extant that they do not adversely affect or
   diminish the marital deduction available to the Estate.   Such
   purchases or loans shall ba without liability to tha '19rustee
   for loss resulting to th• Trust E•tate therefrom. In any
   dealinc:,~ with tha fiduci~rv of tha K~t~to . tha Tructoo •~v
   r•ly upon the statement of such fiduciary as to all material
   tacts.
            Any portion of the Trust Es tate which was received
   from any qualified plan as described in section 2039 ot the
   Internal Revenue Code of 1954, as amended, or any subsequent
   like or sillilar law, may not be used tor any purpose
   described in this Article, which would result in inclusion of


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          aaid funds in the taxable Federal Estate of the Truster so
          long as other sources of funds are available.
                   If the Trustee considers that any distribution from
          a Trust hereunder other than pureuant to a pdwer.to withdraw
         or appoint is a taxable diatribution subject to a generation-
         skipping tax payable by the distribute•, the Trustee shall
         augment the distribution by an amount which- the Trustee
         estimates to be auffiqient to pay the tax and shall charge
         the same against the Trust to which the tax relates. If the
         Trustee conaiders that any termination of an interest in or
         power over Trust property hereunder is a taxable termination
         subject to a generation-skipping tax, the Trustee shall pay
         the tax from tho ~t'Uat prope~y to vhioh tho taK ralataa,
         without adjustment of the relative interests of the
         Beneficiaries. If the tax is i•posed in part by reason of
         Trust property hereunder and in part by reason of other
         property, the Trustee shall pay that portion thereof which
         the value of the Trust property bears to the total property
         taxed, taking into consideration deductions, exemptions, and
         other factors which the Trustee deeas pertinent.
               N.   Payment of Trust Expensee
                    The Trustee shall hav• i:ha au~ho~i~y ~o pay all
         costs, charges and expenses of the Trust Bstate, together
         with reasonable co~pensation for the Trustee's services
         hereunder, including servic•• in whole or partial
         distribution ot the Trust Estate; and to employ and
         compensate from the Trust Estate such agents, assistants and
         attorneys as in the Trustee's judgment shall be necessary to
         protect and manage the Trust property.
               o.   Estate Settlement ·
                  Tne Trustee ls hereby relf'leeted to direct any legal
         questions or requirements concerning settlement of this Trust
         Estate to Stewart Levin, tbe TrUstor's legal oouneel.
               P.   Right of Trustee to Probate TrUst Assets
                  Notwithstanding any other provision• of this Trust
         Agreement, the Trustee may, in its sole discretion, direct
         the Executor of the Will of either or both of the Trustors,
         to aubject up to and including all Truat assets to the
         jurisdiction o~ t:ha Probate Court ae if no living trancforc
         had been made to the Tru~t.




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      · Q,    Ppv.er ot Cotrustees To Act Independently
            No~ithatanding any other provision to the contrary,
   the Truster~ specifically authorize only either of the
   original cotrustees during their joint lives and while
   serving as Cotrustees, to act independently of the other and
   have the authority to perform all powers and acts as granted
   under this Declaration of Trust, except as affects an
   interest in real property, by example, but not limited
   thereto, to sell, transfer, assign, mortgage, hypothecata or
   otherwise encrumber the real property of the Trust Estat1,
   which will necessitate the concurrence of both Original
   Cotrustees as long as both are al-ive.
              Noewithstanding any other provision to the contrary,
   the TrUstors specifically do not authorize any Successor
   Cotrustaes during their joint lives and while serving as
   cotrustees, to act independently of the other with respect to
   parfot"Jlanca of any and all powore and acts as granted under
   tnia Deciaration or Trust . ·
        R.   CoWDence or De!end Litigation
           The Trustee may commence or defend such litigation
  with respect to the Trust or any property of the Trust E~tate
  as the Trustee may deem advisable at the expense o! the
  Trust.
        s.   Compromise Claims
           The Trustee may compromise or otherwise adjust any
  claims or litigation against or in favor of the Trust.
        T.   Adjustment !or Tax Consequences
           The Trustee shall have the power, in the Trustee's              ·I
  absolute discretion, to take any action and to make any
  election to minimize the tax liabilities or this Trust and
  its Beneticiari•• and to allocate the benefits among the
  various Benefieiaries and to make ad~ustmants in the riqhts
  o~ any Bana~ioiarie• or betveen the income and principal
  accounts, to compensate tor the consequence o! any tax
  election or any investment or adlftini•trative decision that
  ~e Trustee believe~ has had the effect of directly or
  indirectly preferring. one Beneficiary or group of
  Beneficiaries over others.




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          u.   Budget Income and Expenses
               T~e Trustee shall have the power to budget the
    esti)llated annual income and expenses or the Trust or Trust
    share in such aanner as to equalize as far as possible
    periodic income payments to Benetiaiaries .
          v.   Interest
               The Trustee shall not pay interest on any 1
    distributions required to be made in the Trust Agreement.
    XI.   REPLACEMEN'l! OF TRUSTEE
          During the time that either o! the original Trustees are
    acting as a Trustee, his or her capacity to continua to so
    function as a Trustee 111ay be ter111inated by the written
    concurrence of the medical physician who ia overseeing the
    general health of that Trustee and the rel'll4ining Original
    Cotrustee or the successor Trustee who would next be
    nominated and appointed to serve as Trustee hereunder. In
    the event that these two designated parties are in agreement,
    that one ot the Original Trustees or both of th. . should be
    removed as a Trustee, they should deliver their
    recommendation to the successor Trustee who would next be
    nominated and appointed to serve as Trustee hereunder, who
    shall have the authority to then aaawaa full responsibility
    as Trustee ot this Trust. In the event that said successor
    Trustee is unavailable then Alternate Trustee named
    hereinabove shall provide all !unction• of said successor
    Trustee hereunder and shall serve as Trustee.
    XlI. GENERAL PROVISIONS
         The administration of any Trust provided tor herein
    shall be subject to the !allowing general provisions.
          A.   supplementary Definitions
               l.   Children and Issue
                The words "children" and "issue" as used herein
   shall include natural children and issue of children, and not
   legally adopted children and the lawful i••ue of legally
   adopted children. The word "living" ahall include unborn
   persona in the persons in the period of gestation.




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               2. 1 support
                 I


                     The term "support" as used herein ' shall include
    proper support, maintenance, medical care, and education,
    including private grade, secondary or high schools, private
    or public institutions of higher learning at both
    undergraduate and graduate levels, . professional education,
    vocational and trade schools, depending upon the abilities
    an~ IIJl\bitions ot tho respective Bene~iciary .
         B.   Annual Accounting
             The Trustee shall rendet"an annual accounting to the
    Beneficiary or Beneficiaries of the Trust not more than one
    hundred twenty (120) days following the close of the fiscal
    year of the Trust.
         C.   Spendthrift Clause
            Tho interacts of tho Bonoficiarios in the principal
   and/or income of the Trust shall not be subject to the claim
   or claims of their creditors or others, nor to legal process,
   and may not be voluntarily or involuntarily alienated or
   encumbered.
         o. Partial Invalidity
             It any provision ot thia instrument is void, invalid
   or unenforceable, the remaining provisions shall nevertheless
   be valid and carried into affect. If any Trust herein
   establishe d exceeds the longest per111iaaible period, it shall
   persist in its period tor the longest period permissible,
   then terlllinate.
        E.    Headings

            The headings in this instrument are for convenience
   only and are not part ot the text.
        F.    Situs of Trust
              The situs ot the Trust Estate shall be the state of
    California. The situs of the Trust Estate may be transferred
  . from California to ·such other jurisdiction as the majority of
    the income Beneficiaries may designate, however, only upon
    written notice given to the Trustee.




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~                      ·
         . _G.    ~iDultaneous Death
      ,         ·I t there be no sufficient evidence that the Trustors
      died .otherwise than simultaneously, then for the purposes of
      this Agreement and the tax effect of this Agreement, it shall
      be presumed that the Decedent shall be the Husband and the
      Survivor ahall l:>e the Wite.
           H.     counterparts
               The Agreement may be executed in any nu~er,ot
      counterparts and each shall constitute an original ot one and
      the same instrwaent.
           I.    ~pplication to Probate Court
              Xf any diaputea ariao as to interpretation ot this
     Agreement, or there is need to obtain Court approval of any
     accounting or any interpretation in regard to this Agreement,
     the Trustors direct the. Trustee to make application to the
     Probate Court, it being the intent of the Trustors that the
     Probate Court shall not assuma continuing jurisdiction,
     except as may be required by law.
          J.     Number and Gender
                As used in this Trust Agreement, the masculine,
     feminine and neuter gender, and the plural and sinaular
     nulllber shall each be deemed to include the others when the
     context so indicates.
          K.     Trust Shares or Subshares
              For purposes ot simplicity, the Trustors have used
     in this Trust Agre•ment the terms "shares" and "subshares. 11
     The Trustors intend, however, that each share or subshare
     shall be a separate Trust.
          L.     No Contest Provi~ion
              It any beneficiary in any manner, directly or
     indirectly, contests this instrument or any ot its
    provisions, any share or intereat in tha trust given to that
    contesting beneficiary under this instrument ia revoked and
    ~hall be diposed of aa if that contesting beneficiary had
    predeceased tha Truators.
             This is to witness -that We, the undersigned
    Trustors, recpiaotivoly, have road ~ho p~oviaiona 0£ i:hi•
    Trust Agreement and understand the provisions therein, and it



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      is .our- ~n~ent to enter into this Trust Agreement in
     ·:~b~\;~~an~ with Col!llllunity Property law, allowing a Husband
      ~nd Wife to enter into a contract with each other regarding
      ooiolunity property.

              IN WITNESS WHEREOF, the provisions.of this
     Declaration Of 'lrwst shall bind OSCAR WENDRIGER and TANIA
     WENDRIGBR as Trustors, and OSCAR WENDRIGER and TANIA
     WENDRIGBR as cotrustees; successor Trustees assuming the role
     of Trustee hereunder, and the Beneficiaries of this TrUst, as
     well aa their successors and assigns.
             ~ t e d at /..~;       ~.A ·· , California,
     this   '+   day ot   IAA try      , 1990.
     TRUSTORS:


     OSCAR WENDRIGER


      r;,;. tk,~~
     TANIA WENDRIG
                                          COTRUSTEES:


                                          OSCAR WENDRIGER

                                           ku,,;_ /J,,,,.Lr
                                         TANIA WENDRIG




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    . STATE OF CA~IPORNIA )
                          )
    COUNTY OF U>S ANGELES )          /U
         On        -r-'11J·'I;, Y-        , 1990, before me, the
    undersigned, a Not ry Public In and for aaid County and
    State, personally appeared OSCAR WENDRIGER and TANIA
    WENDRIGER, personally known to me or proved to 11e on the
    basis ot satisfactory evidence to be the person(s) whose
    na111e(s) is/are subacri))ed to the within instrument and .
    acknowledged that he/she/they executed the same.~
                                                           :7
    Y2
      ~~<
         WITNESS   my hand and ofticial .~eal, this

                   ,1990.                 ~
                                           ~1~-q
                                                       J~~      day of



                                           said County and State




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   11   Erica and Joseph Vago
   12                               UNITED STATES BANKRUPTCY COURT
   13                               CENTRAL DISTRICT OF CALIFORNIA
   14                                     LOS ANGELES DIVISION

   15
        In re                                                 Case No. 2:23-bk-10990-SK
   16
        LESLIE KLEIN,                                         Chapter 11
   17
                      Debtor.                                 Adv. Case No.
   18
   19                                                         COMPLAINT TO DETERMINE THE
        ERICA VAGO and JOSEPH VAGO,                           NONDISCHARGEABILITY OF CERTAIN
   20
                                                              DEBTS OWED BY DEBTOR LESLIE
                      Plaintiffs,
   21                                                         KLEIN TO ERICA AND JOSEPH VAGO
                vs.                                           PURSUANT TO 11 U.S.C. § 523 AND TO
   22                                                         DENY DISCHARGE PURSUANT TO
        LESLIE KLEIN and DOES 1 through 10,                   SECTION 727(A)(12)
   23
                      Defendants.
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    1          Plaintiffs Erica (“Erica”) and Joseph Vago (“Joseph”) (collectively, the “Vagos”), allege as
    2   follows on personal knowledge:
    3                                           Nature of the Case
    4          1.      Defendant and Debtor Leslie Klein (“Defendant” or “Debtor”) stole more than $8
    5   million from Erica in a complicated life insurance scam.
    6          2.      Defendant was the Vagos’ friend for more than 40 years. Defendant preyed on the
    7   Vagos during a time of vulnerability and desperation. Defendant convinced the Vagos to entrust
    8   him with Erica’s $15 million inheritance. Defendant claimed he would act as the Vagos’ lawyer,
    9   accountant and investment adviser.
   10          3.      In truth, Defendant is a con man who systematically embezzled the Vagos’ money
   11   and lied to them every step of the way. Defendant created false financial statements. Defendant
   12   misrepresented the nature of the Vagos’ “investments.” Defendant talked in circles and provided
   13   documents that were designed to confuse. Defendant sold insurance policies without telling the
   14   Vagos. Defendant fabricated meetings that never happened. Defendant made himself the trustee
   15   over life insurance trusts that purportedly held the Vagos’ money.
   16          4.      In the end, Erica’s money simply vanished. Defendant forced the Vagos to take
   17   their case to trial. Defendant attempted to derail the litigation at every possible moment.
   18   Defendant refused to participate in discovery. The trial court sanctioned Defendant on multiple
   19   occasions. At trial, Defendant—who was a CPA for decades—could not account for what
   20   happened to $8 million in Erica’s inheritance. On cross-examination, Defendant admitted that he
   21   had no intention of ever giving Erica a return on her money. This was a scam from start to finish.
   22          5.      The jury ultimately returned a verdict holding Defendant liable for intentional
   23   fraud, fraudulent concealment, breach of fiduciary duty and elder abuse. The jury awarded more
   24   than $8 million in punitive damages. And the trial court entered judgment in the amount of $24.3
   25   million.
   26          6.      This debt is not dischargeable in bankruptcy. The Vagos’ judgment emanates from
   27   a widespread, deliberate and calculated fraud on the part of Defendant.
   28

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    1                                         Jurisdiction and Venue
    2           7.     On February 22, 2023 (the “Petition Date”), Defendant filed a voluntary Chapter 11
    3   bankruptcy petition in the United States Bankruptcy Court, Central District of California, Los
    4   Angeles Division.
    5           8.     This action is a civil proceeding arising in the above-captioned chapter 11
    6   bankruptcy case, which is now pending in this judicial district, and arising under, and arising in
    7   and related to title 11 of the United States Code.
    8           9.     This Court has jurisdiction pursuant to 28 U.S.C. § 1334(b) and 28 U.S.C. §
    9   157(b)(2)(J) to hear and determine this proceeding and to enter an appropriate final order and
   10   judgment.
   11           10.    This matter is a core proceeding pursuant to 28 U.S.C. § 157.
   12           11.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.
   13                                                The Parties
   14           12.    The Vagos are judgment creditors in the above-captioned Chapter 11 bankruptcy
   15   case.
   16           13.    Defendant is the debtor in the above-captioned Chapter 11 bankruptcy case.
   17                                           General Allegations
   18           A.     The Friendship
   19           14.    Joseph first met Defendant in 1970. They are both Orthodox Jews and they were
   20   members of the same temple.
   21           15.    Over the years, the Vagos and Defendant interacted at family and religious events,
   22   including birthdays, holidays, shabbat dinners, bar mitzvahs, and weddings. Defendant and the
   23   Vagos were friends.
   24           B.     Legal Services
   25           16.    In June 2012, Erica’s uncle died. In October 2012, Erica’s brother died. A few
   26   months later, in July 2013, Erica’s mother died. Erica and Joseph had to deal with three lost loved
   27   ones in short succession.
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    1          17.     Erica’s brother, Robert Schweitzer (“Schweitzer”), died on October 3, 2012.
    2   Schweitzer willed the bulk of his estate to Erica. Schweitzer’s estate included roughly $18 million
    3   in a foreign bank account.
    4          18.     A few days following Schweitzer’s death, the Vagos were at their home mourning
    5   the loss of Schweitzer. Defendant went to the Vagos to pay his respects. At that time, Defendant
    6   also offered his services as a lawyer and accountant. Defendant said he could handle any issues
    7   that might come up with Schweitzer’s estate. The Vagos ultimately agreed to retain their longtime
    8   friend. The Vagos and Defendant arranged to meet the following week.
    9          C.      The Life Insurance Policies
   10          19.     About a week later, the Vagos and Defendant met to discuss Schweitzer’s estate.
   11   Erica learned before the meeting that Schweitzer had left her more than $18 million, located in a
   12   foreign bank account. The Vagos did not know how to handle the will, probate, inheritance,
   13   foreign bank accounts, and estate taxes. At the meeting, Erica told Defendant about the
   14   inheritance.
   15          20.     Defendant said this issue was his “specialty.” Defendant told Erica that he was a
   16   jack-of-all-trades—he was a lawyer, CPA, and financial adviser. Defendant told Erica he could
   17   deal with the will. Defendant told Erica he could prepare the estate tax returns. Defendant told
   18   Erica he could figure out the best way to repatriate the money from the foreign bank account.
   19   Defendant told Erica he could even set up investments for the money once the Vagos received it.
   20          21.     The Vagos agreed to let Defendant guide them through this unfamiliar territory.
   21   Erica wrote Defendant a $7,000 check that day for the legal services he promised to provide
   22   through his law firm Leslie Klein & Associates (“LK&A”).
   23          22.     Defendant also recommended that the Vagos invest the inheritance in life insurance
   24   policies. Defendant explained the safety and benefits of this strategy. Defendant said that each
   25   investment would garner 10 to 12% interest each year, plus a premium on the principal in some
   26   cases, all to be paid when the Vagos cashed out. And Defendant emphasized how simple cashing
   27   out would be. Defendant advised that investments in these policies were “just like cash.”
   28   Defendant promised the Vagos they could “sell them for cash any time [they] wanted.”

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    1          23.     Defendant added that the best way to effect the transaction would be to wire the
    2   money to the LK&A client trust account. Defendant would then invest the money from the
    3   LK&A client trust account into life insurance policies. When the Vagos mentioned they wanted to
    4   donate substantial sums to charity, Defendant suggested they wire the money to the EKLK
    5   Foundation, which Defendant set up and controlled. Defendant said the EKLK Foundation would
    6   then distribute funds to charities the Vagos chose.
    7          24.     Finally, Defendant said that if the Vagos wanted cash from Erica’s inheritance for
    8   themselves, they should ask him for it. He would write them a check from the LK&A client trust
    9   account.
   10          25.     Defendant reassured the Vagos that the strategy was sound. Defendant said he
   11   performed the same transactions for “all my clients” as well as his family. Defendant told the
   12   Vagos that he invested his own money in the life insurance policies. Defendant added that
   13   prominent tax attorneys and accountants “in Century City” confirmed to him that this was a safe
   14   and proper strategy. Defendant claimed to have invested in life insurance policies for several
   15   prominent members of the Jewish community.
   16          D.      The Scam
   17          26.     Over the next four years, Erica arranged more than $15 million in wire transfers
   18   from the foreign bank account holding her inheritance. Erica made each transfer at Defendant’s
   19   direction and to accounts Defendant controlled.
   20          27.     About $12.4 million went to the LK&A client trust account, and the rest went to
   21   Defendant’s EKLK Foundation.
   22          28.     As the money came in, Defendant represented to the Vagos that he was executing
   23   the investment strategy he had convinced them to follow. Defendant told the Vagos he was
   24   investing much of Erica’s inheritance in life insurance policies.
   25          29.     The life insurance “investments” were not really investments; they were non-
   26   recourse loans to irrevocable life insurance trusts. Each life insurance trust purportedly contained
   27   a life insurance policy or policies—on the life of a complete stranger to the Vagos—which served
   28   as the sole security for the Vagos’ loan. The principal and interest on each loan were not due until

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    1   the death of the policyholder. For Erica and Joseph—who were respectively 59 and 61 when
    2   Schweitzer passed—this term rendered the loans almost valueless. They did not know when—if
    3   ever—the loans would become due.
    4           30.     The Vagos did not know the identities of the other “investors” in each life
    5   insurance trust. The Vagos did not know how much money Defendant received from other
    6   “investors.” The Vagos had no way to independently verify whether Defendant was paying the
    7   premiums on the insurance policies. The Vagos had no way to determine whether the insureds
    8   were alive or not. The Vagos could not find out whether any insurance companies had paid
    9   Defendant money in connection with the policies they “invested” in. The Vagos had no way to
   10   know whether Defendant sold the policies they thought they invested in. The Vagos were
   11   completely in the dark and at the mercy of Defendant.
   12           31.     The Vagos’ names were nowhere to be found on the promissory notes or on the life
   13   insurance policies. Rather, the promissory notes were executed for the benefit of the “Estate of
   14   Robert Schweitzer.” It could not be more evident that Defendant structured these “investments” in
   15   a manner designed to confuse and deceive the Vagos. Defendant knew that these “investments”
   16   were never going to pay out.
   17           32.     Though these promissory notes were nearly worthless to the Vagos, by Defendant’s
   18   doing, they still had a huge carrying cost. To keep the underlying life insurance policies from
   19   lapsing, Defendant told the Vagos that they would have to pay hundreds of thousands of dollars
   20   per year toward insurance premiums. This money was in addition to the millions already loaned
   21   to the life insurance policy trusts.
   22           33.     By 2019, Defendant claimed to have “invested” $8.3 million of the Vagos’ money
   23   in life insurance policies.
   24           E.      The Misrepresentations
   25           34.     Defendant routinely visited the Vagos at their house. During these visits,
   26   Defendant would give the Vagos a memo on the letterhead of LK&A that purported to show the
   27   status of their “investments.” In a July 1, 2017 memorandum, Defendant stated that the Vagos’
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    1   “investment” had increased in value to $9.4 million. And the memorandum indicated that the
    2   Vagos were entitled to $3,205,000 in interest since their initial “investment” in 2012.
    3          35.     Defendant provided a memorandum in 2018 that indicated the Vagos’
    4   “investments” were worth $10.2 million and the interest was $3,685,000. These written
    5   memoranda were all lies.
    6          F.      The Vagos Discover Defendant’s Fraud
    7          36.     On or around September 15, 2019, Defendant went to the Vagos’ home for their
    8   regular meeting. At this meeting, Erica told Defendant she needed to cash out roughly $1 million.
    9   Defendant responded that the “interest” that had accrued on the Vagos’ investment was all gone.
   10   Defendant falsely stated that “hedge funds are not paying interest anymore” on life insurance
   11   policies, so their earnings over the past seven years had vanished.
   12          37.     The Vagos demanded that Defendant refund their money. Defendant refused.
   13          G.      The State Board of Accountancy
   14          38.     At the same time Defendant was defrauding the Vagos, he was accused of stealing
   15   money from his client Hubert Scott (“Scott”). The California State Board of Accountancy (the
   16   “State Board”) brought charges against Defendant in 2019.
   17          39.     The State Board alleged that Scott inherited money when his brother and son died.
   18   Defendant purported to serve as Scott’s tax preparer, financial planner and investment adviser.
   19   Scott, at that time, was 86 years old and had dementia. Defendant had himself appointed as the
   20   trustee of Scott’s trust agreement. Over the course of five years, Scott gave Defendant $2.42
   21   million.
   22          40.     Defendant purported to “invest” Scott’s money in non-recourse promissory notes
   23   with irrevocable life insurance trusts (i.e., the exact same investments that are at issue here).
   24   Defendant invested 85% of Scott’s money in these life insurance trusts. Even though Scott was 86
   25   years old, he would only be paid out when the insured passed away. Defendant also invested
   26   Scott’s money in companies with which Defendant was affiliated. Among others, Defendant
   27   purportedly invested $750,000 of Scott’s money in LEDs sold by Time Square Media, Inc. (“Time
   28   Square Media”). Defendant was the president of Time Square Media. This $750,000 investment

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    1   purportedly made by Defendant was not reflected in any accounting. The State Board noted that
    2   none of the transactions were made in Scott’s name. Instead, Defendant admitted that he did not
    3   invest the money in life insurance policies on behalf of his clients, but that he actually borrowed
    4   the money himself from his clients.
    5          41.     The State Board alleged that Defendant failed to provide an accounting, and instead
    6   periodically provided documents showing inflated values that were inaccurate on their face.
    7   Defendant ultimately denied that he was Scott’s tax preparer or adviser.
    8          42.     A conservator was appointed in 2016, and Defendant was removed as trustee. The
    9   State Board filed the Accusation in 2019, based on allegations of fraud, breach of fiduciary duty,
   10   embezzlement, commingling funds and undue influence. Defendant entered into a stipulation with
   11   the State Board that resulted in the surrender of his accounting license.
   12          H.      The Litigation and Defendant’s Failure to Comply with Court Orders
   13          43.     The Vagos filed a state court complaint against Defendant on July 1, 2020. From
   14   day one, Defendant and LK&A engaged in a scheme to evade discovery and to derail the case.
   15          44.     Defendant served boilerplate objections to all written discovery requests and
   16   refused to provide substantive responses. Defendant refused to produce documents. The Vagos
   17   then filed several rounds of discovery motions. The Court granted all of them and entered
   18   monetary and issue sanctions against Defendant. The Court ordered Defendant to produce a
   19   responsivity chart and a privilege log. Defendant did not. The Court ordered Defendant to
   20   produce bank records. Defendant did not. Defendant filed a motion to quash a third-party
   21   subpoena served on Bank of America, which he lost. Defendant failed to pay the court-ordered
   22   monetary sanctions by the deadline and failed to comply with court orders requiring supplemental
   23   responses. Defendant even walked out of a court ordered deposition. Defendant stalled and
   24   refused to make himself available for deposition. Defendant substituted new counsel on the eve of
   25   trial. Defendant filed numerous motions to continue the trial date, all of which were denied
   26          I.      The Trial, Jury Verdict and Judgment
   27          45.     On August 29, 2022, the trial in the Vagos’ state court matter commenced.
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    1          46.     At trial, the Vagos presented evidence that Defendant sought out to defraud them
    2   when they were at their most vulnerable—just after Erica’s brother died and while she was caring
    3   for her dying mother in the hospital. Defendant initially testified that he had no financial interest
    4   in the policies that he purportedly invested the Vagos’ money in. But Defendant later admitted
    5   that he invested his own money in these same policies.
    6          47.     Defendant drafted and signed promissory notes where he agreed as trustee that the
    7   Vagos would be entitled to 12% interest on their money. But Defendant testified at trial that he
    8   never had any intention of actually paying the Vagos that interest. Defendant utterly failed to
    9   explain what these “investments” actually were; whether the Vagos were entitled to make any
   10   money from his perspective; or what he did with the Vagos’ money.
   11          48.     Defendant testified at trial that he kept a contemporaneous “ledger” of all
   12   transactions relating to the Vagos. This was a lie—no such ledger was produced at trial.
   13   Defendant admitted that he provided false and inflated financials to the Vagos on a regular basis.
   14   Defendant took out a life insurance policy on an individual named Ann Radow. Ann Radow
   15   testified at trial that she had never met Defendant; that he took out an insurance policy on her life
   16   without her knowledge or consent; and that Defendant created the Ann Radow Trust and made
   17   himself the trustee without her knowledge or consent.
   18          49.     Unbeknownst to the Vagos, Defendant surrendered his license to practice
   19   accounting after he was accused of embezzling money from Scott, an 86-year-old client with
   20   dementia. The State Board disciplined Defendant at the same time he was defrauding the Vagos.
   21          50.     The jury ultimately found that Erica had proven her case against Defendant for
   22   intentional fraud, fraudulent concealment, financial elder abuse and breach of fiduciary duty. The
   23   jury awarded Erica $8.3 million in compensatory damages, plus $8.3 million more in punitive
   24   damages. And the jury awarded Joseph an additional $400,000 in emotional distress damages.
   25   The Court then awarded $7,334,038.99 in prejudgment interest and entered judgment in the
   26   amount of $24,334,038.99 (“Judgment”). A true and correct copy of the Judgment is attached as
   27   Exhibit 1.
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    1                                     FIRST CLAIM FOR RELIEF
    2                       (Nondischargeability of Debt - 11 U.S.C. § 523(a)(2)(A))
    3          51.     The Vagos reallege and incorporate by reference all of the prior and subsequent
    4   allegations in this Complaint as though fully set forth herein.
    5          52.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
    6   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
    7   inheritance (more than $15 million).
    8          53.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
    9   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
   10   purposes and to refrain from using her funds and other property for his own personal non-business
   11   purposes.
   12          54.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
   13   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
   14   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
   15   in a complicated life insurance scam.
   16          55.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
   17   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
   18   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
   19   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
   20          56.     Defendant’s misappropriation of Erica’s funds and other property was
   21   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
   22   deprive Erica of the possession, use and benefit of her funds and other property.
   23          57.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
   24   funds and other property and Defendant’s false pretenses, false representations, and actual fraud
   25   set forth herein, the Vagos have suffered damages in the amount of not less than $26,386,891.00.
   26          58.     Defendant’s debt to the Vagos is nondischargeable under 11 U.S.C. § 523(a)(2)
   27   because it was incurred as a result of false pretenses, false representations, and actual fraud.
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    1          59.     The damages arising from Defendant’s willful and malicious false pretenses, false
    2   representation and actual fraud to the Vagos constitutes a debt against Defendant that is non-
    3   dischargeable pursuant to 11 U.S.C. § 523(a)(2).
    4                                   SECOND CLAIM FOR RELIEF
    5                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(4))
    6          60.     The Vagos reallege and incorporate by reference all of the prior and subsequent
    7   allegations in this Complaint as though fully set forth herein.
    8          61.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
    9   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
   10   inheritance (more than $15 million).
   11          62.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
   12   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
   13   purposes and to refrain from using her funds and other property for his own personal non-business
   14   purposes.
   15          63.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
   16   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
   17   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
   18   in a complicated life insurance scam.
   19          64.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
   20   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
   21   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
   22   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
   23          65.     Defendant’s misappropriation of Erica’s funds and other property was
   24   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
   25   deprive Erica of the possession, use and benefit of her funds and other property.
   26          66.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
   27   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
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    1   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
    2   have suffered damages in the amount of not less than $26,386,891.00.
    3          67.     The damages to the Vagos arising from Defendant’s fraud, defalcation,
    4   embezzlement and larceny while acting in a fiduciary capacity constitutes a debt against
    5   Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(4).
    6                                     THIRD CLAIM FOR RELIEF
    7                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(6))
    8          68.     The Vagos reallege and incorporate by reference all of the prior and subsequent
    9   allegations in this Complaint as though fully set forth herein.
   10          69.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
   11   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
   12   inheritance (more than $15 million).
   13          70.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
   14   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
   15   purposes and to refrain from using her funds and other property for his own personal non-business
   16   purposes.
   17          71.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
   18   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
   19   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
   20   in a complicated life insurance scam.
   21          72.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
   22   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
   23   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
   24   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
   25          73.     Defendant’s misappropriation of Erica’s funds and other property was
   26   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
   27   deprive Erica of the possession, use and benefit of her funds and other property.
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    1          74.      As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
    2   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
    3   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
    4   have suffered damages in the amount of not less than $26,386,891.00.
    5          75.      The damages arising from Defendant’s willful and malicious injury to the Vagos
    6   constitutes a debt against Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(6).
    7                                   FOURTH CLAIM FOR RELIEF
    8                           (For Denial of Discharge - 11 U.S.C. § 727(a)(12))
    9          76.      The Vagos reallege and incorporate by reference all of the prior and subsequent
   10   allegations in this Complaint as though fully set forth herein.
   11          77.      Pursuant to 11 U.S.C. § 727(a)(12), the court shall grant the debtor a discharge
   12   unless- the court after notice and a hearing held not more than 10 days before the date of the entry
   13   of the order granting the discharge finds that there is reasonable cause to believe that—(A) section
   14   522(q)(1) may be applicable to the debtor; and (B) there is pending any proceeding in which the
   15   debtor may be found guilty of a felony of the kind described in section 522(q)(1)(A) or liable for a
   16   debt of the kind described in section 522(q)(1)(B).
   17          78.      On April 11, 2023, the Vagos filed a motion [Docket No. 71] seeking disallowance
   18   of Debtor’s claim of exemption in the real property located at 322 N. June Street, Los Angeles,
   19   CA 90004 (the “Property”) in any amount exceeding $189,050.00 pursuant to Section 522(q) of
   20   the Bankruptcy Code.
   21          79.      Section 522(q) operates to reduce any state law homestead exemption claim to
   22   $189,050.00 where debtor owes a debt arising from “fraud, deceit, or manipulation in a fiduciary
   23   capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
   24          80.      As set forth herein, Debtor owes a debt to the Vagos in an amount of not less than
   25   $26,386,891.00 based upon the Judgment which arose from “fraud, deceit, or manipulation in a
   26   fiduciary capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
   27          81.      Accordingly, Debtor is not entitled to a discharge of his debts pursuant to 11 U.S.C.
   28   § 727(a)(12).

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    1                                           Prayer for Relief
    2          WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
    3          1.     On the First Claim for Relief, the Vagos seek an order determining that Defendant
    4   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
    5   excepted from discharge pursuant to 11 U.S.C. § 523(a)(2);
    6          2.     On the Second Claim for Relief, the Vagos seek an order determining that
    7   Defendant is indebted to the Vagos in an amount not less than $26,386,891.00 and that
    8   Defendant’s debt is excepted from discharge pursuant to 11 U.S.C. § 523(a)(4);
    9          3.     On the Third Claim for Relief, the Vagos seek an order determining that Defendant
   10   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
   11   excepted from discharge pursuant to 11 U.S.C. § 523(a)(6);
   12          4.     On the Fourth Claim for Relief, the Vagos seek an order denying Defendant his
   13   discharge pursuant to 11 U.S.C. § 727(a)(12);
   14          5.     For costs of suit incurred herein; and
   15          6.     For such other and further relief as the Court may deem appropriate.
   16                                                    Respectfully submitted,
   17   Dated: May 10, 2023                             GOE FORSYTHE & HODGES LLP
   18
   19                                               By: /s/Robert P. Goe
                                                        Robert P. Goe
   20
                                                        Attorneys for Plaintiffs Erica Vago and
   21                                                   Joseph Vago

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    1                              PROOF OF SERVICE OF DOCUMENT
    2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
    3   business address is: 17701 Cowan, Bldg. D., Suite 210, Irvine, CA 92614

    4   A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION
        AND MOTION FOR ORDER DISMISSING DEBTOR’S CHAPTER 11 BANKRUPTCY
    5   CASE; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF
        ERICA VAGO, BRIAN PROCEL; AND REQUEST FOR JUDICIAL NOTICE IN
    6   SUPPORT OF SAME will be served or was served (a) on the judge in chambers in the form
        and manner required by LBR 5005-2(d); and (b) in the manner stated below:
    7
        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
    8   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
        court via NEF and hyperlink to the document. On (date) May 10, 2023, I checked the CM/ECF
    9
        docket for this bankruptcy case or adversary proceeding and determined that the following persons
   10   are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
        below:
   11
   12
                                                              Service information continued on attached
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   14
        2. SERVED BY UNITED STATES MAIL:
   15   On (date) May 10, 2023, I served the following persons and/or entities at the last known addresses
        in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
   16   sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   17   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
        than 24 hours after the document is filed.
   18
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   19   page
   20   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
   21   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
        F.R.Civ.P. 5 and/or controlling LBR, on (date) May 10, 2023, I served the following persons
   22   and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
        to such service method), by facsimile transmission and/or email as follows. Listing the judge here
   23   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
        completed no later than 24 hours after the document is filed.
   24
   25         The Honorable Sandra R. Defendant, USBC, 255 E. Temple Street, Ctrm 1575, Los
               Angeles, CA 90012
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        I declare under penalty of perjury under the laws of the United States that the foregoing is true and
    3   correct.

    4    May 10, 2023           Susan C. Stein                           /s/Susan C. Stein
         Date                   Printed Name                             Signature
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        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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    2   Mailing Information for Case 2:23-bk-10990-SK
    3   Electronic Mail Notice List
    4   The following is the list of parties who are currently on the list to receive email notice/service for
        this case.
    5
              Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
    6         Michael Jay Berger michael.berger@bankruptcypower.com,
               yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
    7         Greg P Campbell ch11ecf@aldridgepite.com,
               gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
    8
              Theron S Covey tcovey@raslg.com, sferry@raslg.com
    9         Dane W Exnowski dane.exnowski@mccalla.com,
               bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
   10         Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
              Michael Jones michael.jones4@usdoj.gov
   11         Ron Maroko ron.maroko@usdoj.gov
              Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
   12
              Mark M Sharf (TR) mark@sharflaw.com,
   13          C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
              Alan G Tippie Alan.Tippie@gmlaw.com,
   14          atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denis
               e.walker@gmlaw.com
   15         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
   16         Michael L Wachtell mwachtell@buchalter.com
              John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
   17         Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
              Paul P Young paul@cym.law, jaclyn@cym.law
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                    ADVERSARY PROCEEDING NUMBER
                                                                                              (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                     DEFENDANTS
  ERICA VAGO and JOSEPH VAGO,                                                   LESLIE KLEIN and DOES 1 through 10,


ATTORNEYS (Firm Name, Address, and Telephone No.)                              ATTORNEYS (If Known)
GOE FORSYTHE & HODGES LLP
17701 Cowan Avenue, Suite 210, Bldg. D, Irvine, CA 92614
Telephone: (949) 798-2460 / Facsimile: (949) 955-9437
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debto      □ U.S. Trustee/Bankruptcy Admin       □ X Debtor    □ U.S. Trustee/Bankruptcy Admin
□ X Creditor □ Other                               □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)


                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                  FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                              □
                                                                                  61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                  68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                        □
                                                                                  63-Dischargeability - §523(a)(8), student loan
                                                                                  64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                               □
                                                                                     (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                           65-Dischargeability - other


                                                                               □
                                                                               FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                               □
                                                                                  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                  72-Injunctive relief – other


□2 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                               □ 81-Subordination of claim or interest
                                                                               FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                               □ 91-Declaratory judgment
                                                                               FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                               □ 01-Determination of removed claim or cause
                                                                               FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,
□1 67-Dischargeability                                                         □
        actual fraud                                                           Other

                                                                               □
                       - §523(a)(4), fraud as fiduciary, embezzlement,             SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
   larceny                                                                         02-Other (e.g. other actions that would have been brought in state court
                       (continued next column)
                                                                                      if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                 □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                               Demand $ 26,386,891.00
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                LESLIE KLEIN                   2:23-bk-10990-SK
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
   CENTRAL                                                             LOS ANGELES                         SANDRA KLEIN
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


    /s/Robert P. Goe


DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
  May 10, 2023                                                          Robert P. Goe



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 ROBERT P. GOE (State Bar No. 137019
 rgoe@goeforlaw.com
 REEM J. BELLO (State Bar No. 198840)
 rbello@goeforlaw.com
 GOE FORSYTHE & HODGES LLP
 17701 Cowan Avenue, Suite 210, Bldg. D
 Irvine, CA 92614
 Telephone: (949) 798-2460
 Facsimile: (949) 955-9437


 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                             DIVISION

 In re:

 LESLIE KLEIN,                                                            CASE NO.: 2:23-bk-10990-SK
                                                                          CHAPTER:
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
ERICA VAGO and JOSEPH VAGO,




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
                                                                                      [LBR 7004-1]
 LESLIE KLEIN and DOES 1 through 10,




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom: 1575                                  3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
17701 Cowan Avenue, Suite 210, Bldg. D
Irvine, CA 92614
A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
_________________________________________________________________________________________________
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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  1   Baruch C. Cohen, Esq. (SBN 159455)
      LAW OFFICE OF BARUCH C. COHEN
  2           A Professional Law Corporation
      4929 Wilshire Boulevard, Suite 940
  3   Los Angeles, California 90010
      Tel: (323) 937-4501 Fax: (888) 316-6107
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  5   Attorney For Plaintiffs Robert & Esther Mermelstein
  6                              UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
  7                                  LOS ANGELES ANA DIVISION
  8

  9    In re                                                Case No. 2:23-bk-10990-SK

 10    LESLIE KLEIN,                                        Hon. Sandra Klein

 11            Debtor and Debtor in Possession,             Chapter 11

 12

 13    ROBERT & ESTHER MERMELSTEIN,                         COMPLAINT FOR
                                                            NONDISCHARGEABILITY
 14                        Plaintiffs                       OF DEBT PURSUANT TO 11 USC §
                                                            523(a)(2)(A), 11 USC § 523(a)(4), & 11
 15    vs.                                                  USC § 523(a)(6); & FOR DENIAL OF
                                                            DISCHARGE PURSUANT TO 11 USC
 16    LESLIE KLEIN                                         § 727(a)(2)(A); 11 USC § 727(a)(2)(B);
                                                            11 USC § 727(a)(3); 11 USC § 727(a)(4);
 17                       Defendant                         11 USC § 727(a)(5)

 18

 19
               TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
 20
      JUDGE, THE DEBTOR AND HIS COUNSEL, AND ALL OTHER INTERESTED
 21
      PARTIES:
 22
               Plaintiffs-Creditors, Robert & Esther Mermelstein (“Plaintiffs”), complain for
 23
      nondischargeability of debt & for denial of discharge against Defendant-Debtor, Leslie Klein
 24
      (“Defendant”), and alleges respectfully as follows:
 25
                                    CORE/NON-CORE DESIGNATION
 26
      1.       In accordance with Local Bankruptcy Rule 7008-1, Plaintiffs allege that this adversary
 27
               proceeding constitutes a core proceeding under 28 USC § 157(b)(2). Plaintiffs
 28
               acknowledge that the Court has the power to enter final orders and judgments in this
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  1         matter. Plaintiffs also consent to the Court's entry of final orders and judgments in this
  2         matter under FRBP Rule 7008..
  3                            JURISDICTION, VENUE & STANDING
  4   2.    This adversary proceeding arises under In re Klein, 2:23-bk-10990-SK, a Chapter 11 case
  5         commenced in the United States Bankruptcy Court for the Central District of California
  6         (“Bankruptcy Case”). The Court has jurisdiction under 11 USC §§ 523 and 727, and 28
  7         USC §§ 157 and 1334.
  8   3.    The venue is proper in this Court pursuant to 28 USC § 1409.
  9   4.    Plaintiffs have standing to bring this action because Plaintiffs are creditors in the
 10         Bankruptcy Case under 11 USC § 101(10).
 11                                              PARTIES
 12   5.    The following is a description of the relevant parties involved in the facts forming the
 13         basis of this Complaint.
 14   6.    Plaintiffs are individuals, senior citizens residing in Brooklyn, NY.
 15   7.    Defendant is an individual, whose principal residence is in Los Angeles County,
 16         California and who regularly conducted business from Los Angeles County, California.
 17         Defendant was a certified public accountant, formerly licensed by the State of California,
 18         and a former, and an attorney licensed by the State of California.1 Defendant is the debtor
 19         in the above-captioned Chapter 11 bankruptcy case.
 20   ///
 21

 22     1
              On September 10, 1992, the Supreme Court of the State of California, in State Bar
 23           Court Case No. 86-O-14258, ordered that Defendant be suspended from the practice
              of law for 18 months and further ordered that he take and pass the California
 24           Professional Responsibility Examination (“CPRE”). Defendant failed the November
              1993 and January 1994 CPREs. In Case No. 86-O-14258, Defendant admitted to
 25           intentional misrepresentations. On August 3, 1995, the Supreme Court of the State
              of California, in State Bar Court Case No. 92-O-11716 (consolidated with Case Nos.
 26
              93-O-11825, 94-O-13951, 94-O12055, and 94-O15901) ordered that Defendant be
 27           suspended from the practice of law for one year. In Case No. 92-O-11716, as
              consolidated, Defendant admitted to willful violations of Rules of Professional
 28           Conduct concerning client trust accounts and conflicts of interest.

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  1                                    GENERAL ALLEGATIONS
  2   8.    The following general allegations form the background for the Plaintiffs’ claims for relief
  3         against Defendant.
  4   9.    Plaintiffs are family relatives of Defendant, are Orthodox Jews, and are the settlors and
  5         beneficiaries of the Mermelstein Charitable Remainder Unitrust Dated July 27, 2009, (the
  6         “ Mermelstein Trust”).
  7   10.   Defendant, on behalf of The Klein Charitable Remainder Unitrust dated 2-20-1996 (the
  8         “Klein Trust”) solicited Plaintiffs to invest in at least seven (7) life insurance policies: (1)
  9         Garza; (2) Times Square; (3) Ganz; (4) Spitzer; (5) Kohn; (6) Friedman; & (7)
 10         Zimmerman.
 11                                                GARZA
 12   11.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 13         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 14         Venture (the “Garza Memo”). The purpose of the Garza Memo, was to purchase a
 15         $1,000,000.00 life insurance Policy (“Garza Policy”); American General on the life of
 16         Emanuel Garza (“Garza”). In furtherance of the Garza Memo, Plaintiffs paid Klein
 17         $100,000.00 towards the purchase of the Garza Policy. Defendant instructed Plaintiffs to
 18         make said payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the
 19         Garza Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
 20         ($400,000.00 plus return of premiums paid; plus $100,000.00).
 21   12.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 22         Agreement for Joint Venture (Garza), changing the recipient of the $500,000.00 from the
 23         Mermelstein Trust to Robert & Esther Mermelstein.
 24   13.   Plaintiffs are informed and believe that Defendant sold 50% to the Garza Policy, to the
 25         Longevity Fund of NY and partially to the Longevity Fund of Michigan without their
 26         consent.
 27   14.   Plaintiffs are informed and believe that Garza apparently died in 2018, and on or about 7-
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  1         2-2018, Defendant collected the Garza Proceeds, on the Garza Policy. Defendant
  2         concealed this information from Plaintiffs, misappropriated & kept the Garza Proceeds
  3         for himself, and failed to pay Plaintiffs the $500,00.00 per the Garza Memo.
  4                                         TIMES SQUARE
  5   15.   On 7-16-2012, Defendant issued Plaintiffs a Non-Recourse Promissory Note, in the
  6         amount of $333,333.00, due and payable by 7-16-2013, by Defendant on behalf of the
  7         Times Square Media Inc., containing a “Heter Iska” document (an approved way of
  8         restructuring a loan or debt so that it becomes an investment instead of a loan, per
  9         Halacha - Jewish law).
 10   16.   Plaintiffs are informed and believe that Defendant had no intention of paying the Times
 11         Square Non-Recourse Promissory Note, as Plaintiffs made no payments whatseoever.
 12                                               GANZ
 13   17.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 14         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 15         Venture with plaintiffs (the “Ganz Memo”). The purpose of the Ganz Memo, was to
 16         purchase a $1,000,000.00 life insurance Policy (“Ganz Policy”); American General on
 17         the life of Emanuel Ganz (“Ganz”). In furtherance of the Ganz Memo, Plaintiffs paid
 18         Klein $100,000.00 towards the purchase of the Ganz Policy. Defendant instructed
 19         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
 20         Per the Ganz Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
 21         ($400,000.00 plus return of premiums paid; plus $100,000.00).
 22   18.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 23         Agreement for Joint Venture (Ganz), changing the recipient of the $500,000.00 from the
 24         Mermelstein Trust to Robert & Esther Mermelstein.
 25   19.   Plaintiffs are informed and believe that Defendant apparently sold 50% to the Ganz
 26         Policy, to the Longevity Fund of NY and partially to the Longevity Fund of Michigan,
 27         without Plaintiff’s consent.
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  1   20.   Plaintiffs are informed and believe that Ganz apparently died in 2018, and on or about 7-
  2         2-2018, Defendant collected the Ganz Proceeds, on the Ganz Policy. Defendant
  3         concealed this information from Plaintiffs, misappropriated & kept the Ganz Proceeds for
  4         himself, and failed to pay Plaintiffs the $500,00.00 per the Ganz Memo.
  5                                             SPITZER
  6   21.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
  7         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
  8         Venture with Plaintiffs (the “Spitzer Memo”). The purpose of the Spitzer Memo, was to
  9         make premium payments of a $5,000,000.00 life insurance Policy Number: US
 10         0023546L (“Spitzer Policy”); American General on the life of Malvine Spitzer
 11         (“Spitzer”). In furtherance of the Spitzer Memo, Plaintiffs paid Defendant $250,000.00
 12         towards the purchase of the Spitzer Policy. Defendant instructed Plaintiffs to make said
 13         payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the Spitzer Memo,
 14         Defendant promised to pay the Mermelstein Trust $2,250,000.00 ($2,000,000 plus
 15         $250,000 and all premiums paid of the proceeds).
 16   22.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 17         Agreement for Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from
 18         the Mermelstein Trust to Robert & Esther Mermelstein.
 19   23.   Plaintiffs are informed and believe that Defendant apparently sold portions of the Spitzer
 20         Policy, without their consent - but Plaintiffs do not know to whom. Defendant concealed
 21         this information from Plaintiffs.
 22                                              KOHN
 23   24.   On 3-10-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 24         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 25         Venture with Plaintiffs (the “Kohn Memo”). The purpose of the Kohn Memo, was to
 26         make premium payments of a $3,000,000.00 life insurance Policy (“Kohn Policy”);
 27         American General on the life of Eugene Kohn (“Kohn”). In furtherance of the Kohn
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  1         Memo, Plaintiffs paid Defendant $200,000.00 towards the purchase of the Kohn Policy.
  2         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
  3         Client Trust Account. Per the Kohn Memo, Defendant promised to pay the Mermelstein
  4         Trust $1,200,000.00 ($200,000 and $1,000,000 and all premiums paid of the proceeds).
  5   25.   On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for
  6         Joint Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein
  7         Trust to Robert & Esther Mermelstein.
  8   26.   Plaintiffs are informed and believe that Defendant paid premiums of the Kohn Policy up
  9         to 2011. Thereafter, Defendant apparently sold portions or the entirety of the Kohn
 10         Policy - without Plaintiffs’ consent - to Life Capital Group, LLC (“LCG”), where Shlomo
 11         Yehuda Rechnitz (“Rechnitz”) was to resume paying the Kohn Policy premiums from
 12         2011 onwards. Defendant concealed this information from Plaintiffs.
 13   27.   According to information recently received by Plaintiffs an unsigned Amended and
 14         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
 15         and Rechnitz agreed that upon the death of Kohn, Defendant and Rechnitz would be
 16         reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
 17         Defendant and Rechnitz would split the profits 50/50 of the Kohn Policy, and that
 18         Plaintiffs would receive their $1,200,000.00.
 19                                           FRIEDMAN
 20   28.   On 3-1-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 21         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 22         Venture with Plaintiffs (the “Friedman Memo”). The purpose of the Friedman Memo,
 23         was to purchase a $1,500,000.00 life insurance Policy (“Friedman Policy”); American
 24         General on the life of Goldie Friedman (“Friedman”). In furtherance of the Friedman
 25         Memo, Plaintiffs paid Klein $250,000.00 towards the purchase of the Friedman Policy.
 26         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
 27         Client Trust Account. Per the Friedman Memo, Defendant promised to pay the
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  1         Mermelstein Trust $1,000,000.00 ($250,000.00 and $750,000.00 and all premiums paid
  2         of the proceeds).
  3   29.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
  4         Agreement for Joint Venture (Friedman), changing the recipient of the $1,000,000.00
  5         from the Mermelstein Trust to Robert & Esther Mermelstein.
  6   30.   Plaintiffs are informed and believe that Defendant apparently sold portions of the
  7         Friedman Policy, to the Longevity Fund of NY and partially to the Longevity Fund of
  8         Michigan, without Plaintiff’s consent.
  9   31.   Plaintiffs are informed and believe that Friedman apparently died in 2020, and Defendant
 10         collected the Friedman Proceeds, on the Friedman Policy. Defendant concealed this
 11         information from Plaintiffs, misappropriated & kept the Friedman Proceeds for himself,
 12         and failed to pay Plaintiffs the $1,000,000.00 per the Friedman Memo.
 13                                          ZIMMERMAN
 14   32.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 15         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 16         Venture with Plaintiffs (the “Zimmerman Memo”). The purpose of the Zimmerman
 17         Memo, was to purchase a $9,000,000.00 life insurance Policy (“Zimmerman Policy”);
 18         American General Policy # US 0023738L on the life of Rozy Pearl Zimmerman
 19         (“Zimmerman”). In furtherance of the Zimmerman Memo, Plaintiffs paid Defendant
 20         $150,000.00 towards the purchase of the Zimmerman Policy. Defendant instructed
 21         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
 22         Per the Zimmerman Memo, Defendant promised to pay the Mermelstein Trust
 23         $2,400,000.00 ($2,250,000.00 plus $150,000.00).
 24   33.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 25         Agreement for Joint Venture (Zimmerman), changing the recipient of the $2,400,000.00
 26         from the Mermelstein Trust to Robert & Esther Mermelstein.
 27   34.   Plaintiffs are informed and believe that Defendant paid premiums of the Zimmerman
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  1         Policy up to 2011. Thereafter, Defendant apparently sold portions or the entirety of the
  2         Zimmerman Policy to Life Capital Group, LLC (“LCG”) - without Plaintiffs’ consent - ,
  3         where Shlomo Yehuda Rechnitz (“Rechnitz”) was to resume paying the Zimmerman
  4         Policy premiums from 2011 onwards. Defendant concealed this information from
  5         Plaintiffs.
  6   35.   Defendant, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust
  7         (the “Zimmerman Trust”) issued three Non-Recourse Promissory Notes (the
  8         “Zimmerman Notes”) to Plaintiffs secured by the Zimmerman Policy in the amount of
  9         $2,357,679.50:
 10         a.      Non-Recourse Promissory Notes # 1, principal sum of $1,412,679.53, dated June
 11                 15, 2011 - due June 15, 2020 (the “$1,412,679.53 Zimmerman Note”);
 12         b.      Non-Recourse Promissory Notes # 2, principal sum of $570,000.00, dated
 13                 December 7, 2009 - due December 7, 2019 (the: “$570,000.00 Zimmerman
 14                 Note”);
 15         c.      Non-Recourse Promissory Notes # 2, principal sum of $375,000.00, dated
 16                 January 14, 2010 - due January 14, 2020 (the “$375,000.00 Zimmerman Note”).
 17         d.      Interest on the three Non-Recourse Zimmerman Notes until 4-30-2023 comes to
 18                 $2,939,936.84. Therefore the total amount of the claim is: $7,697,616.34
 19                 ($2,400,000.00 (Zimmerman Policy) + $2,357,679.50 (3 Zimmerman Notes) +
 20                 2,939,936.84 (interest) = $7,697,616.34.
 21   36.   According to information recently received by Plaintiffs, an unsigned Amended and
 22         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
 23         and Rechnitz agreed that upon the death of Zimmerman, Defendant and Rechnitz would
 24         be reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
 25         Defendant and Rechnitz would split the profits 50/50 of the Zimmerman Policy, and that
 26         Plaintiffs would receive their $2,400,000.00. Defendant concealed this information from
 27         Plaintiffs.
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  1    PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT’S IOLTA ACCOUNT
  2   37.   During this entire time, Defendant repeatedly assured Plaintiffs that their investments in
  3         the 7 policies were secure and accruing interest. Defendant mailed Plaintiffs periodic
  4         monthly checks of $5,000.00 issued from Defendant’s IOLTA - Attorney Client Trust
  5         Account.
  6                     PLAINTIFFS’ DISCOVERY OF DEFENDANT’S FRAUD
  7   38.   On or about 1-21-2021, Plaintiffs discovered the above-referenced frauds and
  8         concealment.
  9   39.   On or about 6-22-2022, Defendant wrote Plaintiffs assuring them that their investments
 10         were “secure” when in reality, Defendant sold them off to third parties without Plaintiffs’
 11         consent:
 12         I received you e mail and I disagree. I paid in on the Zmerman policy over
            $1,000,000. The interest for the last 10 years is over $2,300,000 . I also own
 13         25%of the profits. You are well secured. You can call me if you have any
            questions. [Emphasis Added]
 14
      40.   On or about 7-18-2022, Defendant wrote Plaintiffs admitting that he used Plaintiffs’
 15
            monies from the Friedman Garza and Gans to pay for his legal fees in his lawsuit with
 16
            Rechnitz.
 17
            I got your email. I want to make it very clear we are family and I don’t want to
 18         fight. I think I can make a deal with Rechnitz because I have the best lawyers in
            LA. If not we will go to court. I have big leverage on Rechnitz due to the Menlo
 19         case. I am not assigning the Zimmerman case to you. I am using the money from
            the Friedman Garza and Gans cases for attorney fees in the Rechnitz case. On
 20         Zimmerman Rechnitz and I paid $4,000,000 in premiums but it is return of
            premium. We also gave Mrs Zimmerman $200,000. I am sure they will sue to get
 21         more. It is a big policy and all big policies have big fights. [Emphasis Added]
 22                              PLAINTIFFS’ PROOF OF CLAIMS
 23   41.   Plaintiffs timely filed seven (7) Proofs of Claim against Defendant totaling $13,480,949,
 24         primarily based on Defendant misappropriating insurance policies and the proceeds, as
 25         follows:
 26         a.     Claim # 19-1 (Garza) $500,000.00;
 27         b.     Claim # 20-1 (Times Square) $333,333.00;
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  1          c.     Claim # 21-1 (Ganz) $500,000.00;
  2          d.     Claim # 22-1 (Spitzer) $2,250,000.00;
  3          e.     Claim # 23-1 (Kohn) $1,200,000.00;
  4          f.     Claim # 24-1 (Friedman) $1,000,000.00; &
  5          g.     Claim # 25-2 (Zimmerman) $7,697,616.34.
  6                 TOTAL:           $13,480,949
  7                                   FIRST CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(2)(A))
  8
      42.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  9
             in this Complaint as though fully set forth herein.
 10
      43.    At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
 11
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
 12
      44.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
 13
             loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
 14
             business purposes and to refrain from using their funds and other property for his own
 15
             personal non-business purposes.
 16
      45.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
 17
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
 18
             additional policies into Defendant’s IOLTA client trust account. Defendant then stole
 19
             more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
 20
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
 21
             elder abuse.
 22
      46.    Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
 23
             without their consent and fraudulent. Defendant acted with the intent to permanently
 24
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 25
      47.    As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
 26
             funds and other property and Defendant’s false pretenses, false representations, and
 27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
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  1          than $13,480,949.
  2   48.    Defendant’s debt to Plaintiffs is nondischargeable under 11 USC § 523(a)(2) because it
  3          was incurred as a result of false pretenses, false representations, and actual fraud.
  4   49.    The damages arising from Defendant’s willful and malicious false pretenses, false
  5          representation and actual fraud to Plaintiffs constitutes a debt against Defendant that is
  6          nondischargeable pursuant to 11 USC § 523(a)(2)(A).
  7                                 SECOND CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(4))
  8
      50.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  9
             in this Complaint as though fully set forth herein.
 10
      51.    At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
 11
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
 12
      52.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
 13
             loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
 14
             business purposes and to refrain from using their funds and other property for his own
 15
             personal non-business purposes.
 16
      53.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
 17
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
 18
             additional policies into Defendant’s IOLTA client trust account. Defendant then stole
 19
             more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
 20
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
 21
             elder abuse.
 22
      54.    Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
 23
             without their consent and fraudulent. Defendant acted with the intent to permanently
 24
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 25
      55.    As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
 26
             funds and other property and Defendant’s false pretenses, false representations, and
 27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
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  1          than $13,480,949.
  2   56.    The damages to Plaintiffs arising from Defendant’s fraud, defalcation, embezzlement and
  3          larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
  4          non-dischargeable pursuant to 11 USC § 523(a)(4).
  5                                  THIRD CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(6))
  6
      57.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  7
             in this Complaint as though fully set forth herein.
  8
      58.    At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
  9
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
 10
      59.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
 11
             loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
 12
             business purposes and to refrain from using their funds and other property for his own
 13
             personal non-business purposes.
 14
      60.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
 15
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
 16
             additional policies into Defendant’s IOLTA client trust account. Defendant then stole
 17
             more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
 18
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
 19
             elder abuse.
 20
      61.    Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
 21
             without their consent and fraudulent. Defendant acted with the intent to permanently
 22
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 23
      62.    As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
 24
             funds and other property and Defendant’s false pretenses, false representations, and
 25
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
 26
             than $13,480,949.
 27
      63.    The damages to Plaintiffs arising from Defendant’s willful and malicious injury to
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  1          Plaintiffs constitutes a debt against Defendant that is non-dischargeable pursuant to 11
  2          USC § 523(a)(6).
  3                                  FOURTH CAUSE OF ACTION
                         (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(A))
  4
      64.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  5
             in this Complaint as though fully set forth herein.
  6
      65.    Plaintiffs are informed and believe that within one year before the Petition, Defendant
  7
             transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
  8
             concealed, Defendant’s property.
  9
      66.    As of the dates of the transfers, removals, and/or concealments of Defendant’s property,
 10
             Defendant had one or more unsecured creditors.
 11
      67.    The transfers, removals, and/or concealments of Defendant’s property prevented the
 12
             distribution of Defendant’s property to Defendant’s unsecured creditors.
 13
      68.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
 14
             creditors, including, without limitation, Plaintiffs, transferred, removed, and/or
 15
             concealed, or permitted to be transferred, removed, and/or concealed, Defendant’s
 16
             property.
 17
      69.    By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
 18
             concealment of Defendant’s property with the intent to hinder, delay, and/or defraud at
 19
             least one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(A).
 20
      70.    Defendant failed to list valuable property on his schedule of assets and failed in his
 21
             statement of affairs to disclose property transfers.
 22
      71.    Defendant has a reckless indifference to the truth.
 23
                                       FIFTH CAUSE OF ACTION
 24                      (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(B))
 25   72.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 26          in this Complaint as though fully set forth herein.
 27   73.    Plaintiffs are informed and believe that After the Petition, Defendant transferred,
 28

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  1          removed, concealed, and/or permitted to be transferred, removed, and/or concealed,
  2          property of the Bankruptcy estate.
  3   74.    As of the dates of the transfers, removals, and/or concealments of the property of the
  4          estate, Defendant had one or more unsecured creditors.
  5   75.    The transfers, removals, and/or concealments of the property of the estate prevented the
  6          distribution of this property to Defendant’s unsecured creditors.
  7   76.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
  8          creditors, transferred, removed, and/or concealed, or permitted to be transferred,
  9          removed, and/or concealed, property of the estate.
 10   77.    By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
 11          concealment of estate property, with the intent to hinder, delay, and/or defraud at least
 12          one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(B).
 13   78.    Defendant failed to list valuable property on his schedule of assets and failed in his
 14          statement of affairs to disclose property transfers.
 15   79.    Defendant has a reckless indifference to the truth.
 16                                   SIXTH CAUSE OF ACTION
                          (Objection to Debtor’s Discharge 11 USC § 727(a)(3)
 17
      80.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 18
             in this Complaint as though fully set forth herein.
 19
      81.    Plaintiffs are informed and believe that Defendant has not maintained adequate books
 20
             and records from which Debtor’s financial condition can be ascertained. Debtor has
 21
             consistently not maintained adequate books and records. His failure to keep adequate
 22
             books and records is not justified considering the circumstances articulated in this
 23
             Complaint.
 24
      82.    Defendant has concealed, destroyed, falsified, and/or failed to keep or preserve
 25
             information from which Defendant’s financial condition and/or business transactions
 26
             might be ascertained.
 27
      83.    Defendant has not been cooperative with the Office of the United States Trustee
 28

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  1          ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
  2          documents, and/or other papers relating to Defendant’s property and/or financial affairs.
  3   84.    Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
  4          727(a)(3).
  5                                SEVENTH CAUSE OF ACTION
                          (Objection to Debtor’s Discharge 11 USC § 727(a)(4)
  6
      85.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  7
             in this Complaint as though fully set forth herein.
  8
      86.    Plaintiffs are informed and believe that Defendant has not made simple isolated errors or
  9
             omissions in his Bankruptcy filings. Defendant’s filings, such as his schedules and
 10
             statement of affairs, do not reflect inadvertence or incompetence; rather, they exhibit
 11
             fraudulent intent.
 12
      87.    Defendant has a pattern of misleading conduct.
 13
      88.    Defendant has a reckless indifference to the truth.
 14
      89.    Defendant has failed to list assets in his schedules.
 15
      90.    Defendant has falsely testified in the 341 Meeting.2
 16

 17
        2
              At the 3-13-2023 341(a) Meeting, Defendant at circa 11:15 testified in response to
 18           omissions to be brought to the attention of the United States Trustee (“UST”), that
              there were only “three minor errors” which he thought that his attorney corrected.
 19
              Defendant testified that there were “no” errors related to any assets that he owns. At
 20           circa 12:52, Defendant testified that he identified all assets on his schedules.
              Defendant at circa 1:18:30-1:09:21 testified that in the year before the Bankruptcy,
 21           he received no commissions from his third-party life insurance deals. At circa
              1:20:18, Defendant testified that he has not ever collected money on his third-party
 22           life insurance deals. At circa 1:22:18, Defendant testified that he has never received
 23           a payoff on his third-party life insurance deals. At circa 1:23:21, Defendant testified
              that four people have died and that he has received no money. Defendant at circa
 24           1:39:00 testified, in response to whether he had transactions with Shlomo Rechnitz
              in the last five or six months relating to the thirdparty life insurance policies, “nope.”
 25           Defendant testified that he does not remember paying the premiums for these
              policies out of his attorney client trust account at any time. Defendant at circa
 26
              1:40:03 testified that he does not remember depositing his own funds into his
 27           attorney-client trust account so that these insurance premiums could be paid. In
              response to the question of whether Defendant traveled out of the country anywhere
 28           recently, other than Israel, Defendant at circa 2:23:00 testified, “nope.” In response

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  1   91.    Defendant has knowingly and fraudulently made false oaths and/or accounts in the
  2          Bankruptcy Case.
  3   92.    Defendant has failed to provide records which are necessary for the OUST and his
  4          creditors to properly understand Defendant’s financial condition and/or recent business
  5          transactions.
  6   93.    Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
  7          727(a)(4).
  8                                    EIGHTH CAUSE OF ACTION
                             (Objection to Debtor’s Discharge 11 USC § 727(a)(5)
  9
      94.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 10
             in this Complaint as though fully set forth herein.
 11
      95.    Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
 12
             Debtor’s liabilities. No determination has yet been made of an entitlement to a discharge
 13
             in this Bankruptcy Case.
 14
      96.    Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
 15
             727(a)(5).
 16
                                          PRAYER FOR RELIEF
 17
             WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
 18
      1.     On the First Claim for Relief, Plaintiffs seek an order determining that Defendant is
 19
             indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
 20
             excepted from discharge pursuant to 11 USC § 523(a)(2)(A);
 21
      2.     On the Second Claim for Relief, Plaintiffs seek an order determining that Defendant is
 22
             indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
 23
             excepted from discharge pursuant to 11 USC § 523(a)(4);
 24
      3.     On the Third Claim for Relief, Plaintiffs seek an order determining that Defendant is
 25

 26
              to the question of whether Defendant has bank accounts in Israel, Defendant at circa
 27           2:26:48 testified, “nope.” Defendant at circa 2:59:15 testified that he has not
              transferred any assets within the last year to a third party. Defendant at circa 2:59:33
 28           testified that he has not given any gifts more than $12,000.00 to his family.

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  1          indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
  2          excepted from discharge pursuant to 11 USC § 523(a)(6);
  3   4.     On the Fourth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
  4          pursuant to 11 USC § 727(a)(2)(A);
  5   5.     On the Fifth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
  6          pursuant to 11 USC § 727(a)(2)(B);
  7   6.     On the Sixth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
  8          pursuant to 11 USC § 727(a)(3);
  9   7.     On the Seventh Claim for Relief, Plaintiffs seek an order denying Defendant his
 10          discharge pursuant to 11 USC § 727(a)(4);
 11   8.     On the Eighth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 12          pursuant to 11 USC § 727(a)(5);
 13   9.     For costs of suit incurred herein; and
 14   10.    For such other and further relief as the Court may deem appropriate.
 15
      DATED:        May 12, 2023                      LAW OFFICE OF BARUCH C. COHEN
 16                                                   A Professional Law Corporation
 17                                                   By     /S/ Baruch C. Cohen
                                                      Baruch C. Cohen, Esq.
 18                                                   Attorney For Creditors Robert & Esther
                                                      Mermelstein
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
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                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
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ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
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PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ
                                                   ; Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ &UHGLWRU
;           Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
Ƒ 7UXVWHH                                          Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
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                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ  61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ
                                                                                ; 68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ  63-Dischargeability - §523(a)(8), student loan
Ƒ 14-Recovery of money/property - other                                         Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ  65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                Ƒ  72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ; 41-Objection / revocation of discharge - §727(c),(d),(e)                     FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ; 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                               Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,         01-Determination of removed claim or cause

       actual fraud                                                            Other
Ƒ; 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                    (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                  Ƒ Check if this is asserted to be a class action under FRCP 23
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
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DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                      NAME OF JUDGE
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                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                   ADVERSARY
                                                                                                           PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                      NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF))




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                               %DUXFK&&RKHQ(VT



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Baruch C. Cohen, Esq. (SBN 159455)
 LAW OFFICE OF BARUCH C. COHEN
  A Professional Law Corporation
 4929 Wilshire Boulevard, Suite 940
 Los Angeles, California 90010
 (323) 937-4501 Facsimile: (888) 316-6107
 Email: baruchcohen@baruchcohenesq.com




 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                             DIVISION

 In re:
 LESLIE KLEIN
                                                                          CASE NO.: 2:23-bk-10990-SK
                                                                          CHAPTER: 11
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
ROBERT & ESTHER MERMELSTEIN




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
 LESLIE KLEIN                                                                         [LBR 7004-1]




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom:                                       3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                    BEFORE THE
                         CALIFORNIA BOARD OF ACCOUNTANCY
                         DEPARTMENT OF CONSUMER AFFAIRS
                               STATE OF CALIFORNIA




  In the Matter of the Accusation Against:         Case No. AC-2019-62
  LESLIE KLEIN                                    OAH No. 2019090073
  322 N. June Street
  Los Angeles, CA 90004
  Certified Public Accountant Certificate No.
  67454
                                    Respondent.



                                    DECISION AND ORDER
        The attached Stipulated Surrender of License and Order is hereby adopted by the
  California Board of Accountancy, Department of Consumer Affairs, as its Decision in this
  matter.
                                                   May 13, 2020
        This Decision shall become effective on -----------
                           April 13, 2020
        It is so ORDERED ----------



                             FOR THE CALIFORNIA BOARD OF ACCOUNTANCY
                             DEPARTMENT OF CONSUMER AFFAIRS
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      2:23-bk-10990-SK Doc
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                            311 Filed
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      2:23-bk-10990-SK Doc
                        Doc303-6
                            311 Filed
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                            311 Filed
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                            311 Filed
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                        Doc303-7
                            311 Filed
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                        Doc303-7
                            311 Filed
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                            311 Filed
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                        Doc303-8
                            311 Filed
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                        Doc303-8
                            311 Filed
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                            311 Filed
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                            311 Filed
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                            311 Filed
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                            311 Filed
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                            311 Filed
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Case
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Case
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                            311 Filed
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Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc303-9
                            311 Filed
                                   Filed08/29/23
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                       Main Document
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Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc303-9
                            311 Filed
                                   Filed08/29/23
                                         08/28/23 Entered
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                       Main Document
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Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc303-9
                            311 Filed
                                   Filed08/29/23
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                       Main Document
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Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc303-9
                            311 Filed
                                   Filed08/29/23
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Case
 Case2:23-bk-10990-SK
       2:23-bk-10990-SK Doc
                         Doc311
                              303-10
                                 Filed Filed
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): MOTION OF CHAPTER 11 TRUSTEE,
FOR ORDER ENFORCING THE AUTOMATIC STAY AGAINST THE MENLO TRUST AND
RELATED RELIEF; MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATION
OF JEFFREY P. NOLAN IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers
in the form and manner required by lbr 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 28, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 28, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _August 28, 2023_, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.



                                                                                       Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 28, 2023                         Rolanda Mori                                            /s/ Rolanda Mori
 Date                            Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                                       In re Leslie Klein
                                                                            23-10990-SK
                                    SERVICE LIST

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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    walker@gmlaw.com
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   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
   Michael L Wachtell mwachtell@buchalter.com


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   Roye Zur rzur@elkinskalt.com,
    cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com



3   SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL

 Via Federal Express                                             Via Federal Express
 Honorable Sandra R. Klein                                       The Honorable Anna Marie Luna
 United States Bankruptcy Court/Central District of California   Superior Court of the State of CA
 Edward R. Roybal Federal Building and Courthouse                County of Los Angeles, Probate Dept 3
 255 E. Temple Street, Suite 1582 / Courtroom 1575               111 North Hill Street
 Los Angeles, CA 90012                                           Los Angeles, CA 90012

 Via Federal Express                                             Via Federal Express
 Donald L. Saltzman                                              Attys for Co-Trustee Jeffrey Winter and
 A Professional Law Corporation                                  Frank Menlo as Co-Trustee
 10537 Butterfield Road                                          Alex Weingarten, Esq.
 Los Angeles, CA 90064                                           Wilkie Farr & Gallagher LLP
                                                                 2029 Century Park East
                                                                 Los Angeles, CA 90067-2905




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   Roye Zur rzur@elkinskalt.com,
    cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com


3   SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL

Via Federal Express                                                                Via Federal Express
Honorable Sandra R. Klein                                                          Ron Maroko
United States Bankruptcy Court/Central District of California                      Office of the United States Trustee
Edward R. Roybal Federal Building and Courthouse                                   915 Wilshire Blvd., Ste. 1850
255 E. Temple Street, Suite 1582 / Courtroom 1575                                  Los Angeles, CA 90017
Los Angeles, CA 90012

Via Federal Express                                                                Via Federal Express
Kenneth Misken                                                                     Donald L. Saltzman
Office of the United States Trustee                                                A Professional Law Corporation
411 W. Fourth Street, #7160                                                        10537 Butterfield Road
Santa Ana, CA 92701                                                                Los Angeles, CA 90064

Via Federal Express
Attys for Co-Trustee Jeffrey Winter and
Frank Menlo as Co-Trustee
Alex Weingarten, Esq.
Wilkie Farr & Gallagher LLP
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Los Angeles, CA 90067-2905




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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